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                EXHIBIT A
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 May 22, 2018


 To Whom It May Concern,


 This letter is being written because I want you to understand who my son, Steven Bradley Mell is
 as a person. Since he was a young boy, he has always been a hard worker with integrity and
 determination to not only succeed at a job, but to do it the right way. He has carried this through
 into adulthood where along the way he has made many friends and has earned the respect of
 individuals and industry professionals! Eventually he took over as the President of the family
 business from his Father and has made it an even more successful and reputable company in the
 investment industry where it is highly regulated and mistakes do not go unpunished. To this day,
 there has never been any negative action taken against him or the business.

 Unlike a lot of men in the profession, Bradley is not the type of person who is influenced by
 people who are running around running to cocktail parties and flaunts their money. In fact, despite
 his success, he spends more time giving than taking while taking drastic steps to keep his actions
 as low key and private as possible as he is not looking for the attention. A great example of this is
 when a young man he knows lost all of his parents retirement money on bad investments. Instead
 of just saying that is too bad and walking away, Brad out of his own pocket put the amount of
 money lost back into the family's account unbeknownst to the family. Eventually, when they found
 out what Brad had done, they wrote a beautiful letter to thank him even though he didn't have to
 do it. Another example is when he sent his plane up to Nantucket, at his own expense, when a
 friend's father had died to make sure that all of his friends friend(s) were there for the services
 and his friend had no idea who did it. It wasn't until a week or two later that the friend finally found
 out and he was incredibly grateful to Brad for having made sure as many people as possible
 could be with his family at a time of crisis.

 The final example I'll give you is when one of Brad's oldest friends experienced his two sisters
 being killed in an automobile accident. When Brad found out from his older brother what had
 happened, he immediately dropped everything and went to the hospital to be with his friend and
 the Father to provide support in any way he could.

 In conclusion, I want the courts to know I have never had a problem with Brad and that he is not
 some little rich boy running around showing off. He doesn't smoke, drink or do drugs for which I
 am very thankful for as a mother and if I had a daughter, I would love to have her marry a man
 like him. I know every mother will say how wonderful their kids are, but Brad truly is a good son
 and I am very proud of him as has he been there for me at 81 and fighting cancer and always
 with a smile. He adores his family more than you will EVER know and spends every moment he
 can with them when he is not working, whether that being going out to his daughters concert or
 his other daughters athletic game or taking his son to his games and loves it. We are a very close
 family and will always remain that way ... l could not ask anymore of him so I ask you to have an
 understanding who Brad is as a person.

 Thank you

 Diana D. Mell
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 May 28th, 2018

 lo Whom this may concern:
 This is a character reference for Steven Bradley Mell of Bedminster (Far Hills) New Jersey.

 Brad, as he is known, and I, ,1ave literally known each other our whole lives, we grew up
together as neighbors and were in the same class at the same school, we were and are as the
expression goes, best friends, we also shared a core group of friends that would become like
 brothers and sisters to one another during these early years. During our childhood/young adult
years Brad and I worked together over many summer vacations, sand-blasting pools, installing
 post and rail fencing, cutting fields(him more than me) and cutting an extremely large amount
of grass. Our summer entrepreneurial partnerships culminated when we formed a company
together inspired by his growing love for flying, called Aero Care Services, to capitalize on what
he had recognized as an untapped market, detailing (cleaning) small private planes, eventually
we would add cars to our service, and for several summers the two of us spent 10 hours a day
together meticulously cleaning planes and cars. When it came lime for the two of us to move
on to the next stages of our lives, the discussion of selling our business was entertained,
however, Brad (and I agreed) was quick to conclude that that was not a risk worth taking,
regardless of the potential short term benefit to ourselves. His concern was that we had forged
a high degree of trust with our customers lo which he couldn't in good conscience risk
Jeopardizing by putting them in the hands of someone we didn't know. So al the end of the
day, the decision was made to wind the business down. Besides the obvious strong work
ethic Brad possesses, his real defining character trait is his integrity, it's a quality that pervades
every aspect of his life. On a further note, Brad would keep the Aero Care Services name and
eventually put it to much better use later in life, providing life flights/Angel Flights to patients in
medical need who didn't have the means or resources to otherwise reach specialized treatment
facilities out of their geographic reach, free of charge.

While we parted ways geographically tor our high school and collerJe years we always
reconnected during our vacations back in New Jersey, in fact, after we both graduated college
I moved to Boston where Brad had been living while attending Boston University, and for the
next several years we sl1ared an apartment while we embarked on our respective career paths.
Perhaps we would have lived together for longer had it not been for the fact that during that
time Brad met Kim Fluggles, who would soon become Kim Mell, for which I had both the
pleasure and honor at their wedding to serve as Best man.

So when asked if I would be willing to provide a characl(• r reference on behalf of Brad, the
answer was quick and easy, "Of course." Tl1e difficulty l1owever, comes in trying !o convey a 50
year relationship into a short brief synopsis. Certainly one starting point would he to describe
the product of his life, and work backwards to see how he qot there.

If one were to meet his three lovely children, Emily, Eliza, and William it would be immediately
apparent to any observer of their reserved graciousness, not to be mistaken for politeness,
although they share that quality as well. It wouldn't take long for an outsider looking in to notice
tt1e energetic qlow that these children exude, call it a smile that seems to be there even in the
absence of a smile. These hard lo describe, but noticeable character traits, may be brushed off
by casual observers simply as the product of good fortune, but those judgements would be
mistaken, dare l say just plain wrong. To anyone whose had the opportunity to spend time with
Brad and his family they would be familiar with what I am describing and it would likely bring a
warm smile to their faces. If !here's any question as to what I'm describing, the answer is
simple. Love. Now to the prying eye, such a statement might be brushed off or discounted as
a basic parental responsibility, the baseline that we, as parents, should be expected to provide,
and while most would agree with that, and Brad certainly has provided !hat, that is not what
I'm referring to. The aspect of Brad that I'm trying to art.iculate is that of, engagement.
Perhaps a quick anecdote to elaborate the point. For the many people who have dogs, most
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will tell you they love them, end that would likely be true. Tl1en there are people who have
dogs and, like children naturally are inclined to do, can be frequently spotted playing with them
regularly, in their case, you know they love them, you see it through their actions, that's
engagement. Brad is an engaged and involved lather, l1is lov,J for his children expressed in
both word and action and in plain view for all to see, and frankly, given how hard he has had to
work to achieve the level of success he's earned, it makes it that much more remarkable. The
result, or sl1ould I say proof of these statements lie in Brad's children and their response to all
that has recently transpired. While terribly disappointed over !heir father's situation, all three
are unwavering in their love and support for him.

Aside from being a loving parent, other attributes that describe Brad are, conscientious,
generous, and committed. These traits are part of Brad's DNA anc! are reflected in the manner
in which he conducts himself in all aspects of his life and they have not gone unrecognized by
those in his community. Brad has been sought out to serve on the board of trustees for
multiple institutions, committing to several for which I am aware. One of which perfectly
encapsulates the message 1hope to convey. Brad served on the Board of Trustees at Far Hills
Country Day School, the school we both attended together and the school he would send his
three children to. In May of 20i 7 ! attended an event that Far Hills Country Day School
sponsored solely to honor Brad, it was not I should empl·1asize, lo simply thank him for some
outsized financial gift, it was however, to present him with what they called "The Unsung Hero
Award." This newly created award inspired by Brad's actions was Far Hills Country Day
School's way of not allowing ail that Brad had done for the school to go unrecognized. Tl1e
irony of it all is that Brad doesn't seek out recognition, he is simply interestsd in how he can be
most affective with his time and support, helping whenever and however he can.

Brad, who has been extremely fortunate in many aspects of his life has not been without life's
set-backs. !n October of 2012 liis helicopter crashed, killing two of the three occupants, the
pilot, Will Ellsworth, was a dear friend and amongst the two who perished, it was an event that
had a major impact on his life, as i1e felt, had he been co-piloting perhaps things would have
worked out differently. His bond with t11e Ellsworth family thankfully has only grown stronger,
and he continues to fly Molly Ellsworth, the mother of Will Ellsworth, wl,enever and wherever
she wants to go, I also believe she was one of the people wlio expressed interest in housing
Brad. Please don't confuse tt1is event as an attempt to garner sympathy, it's really about
Brad's relationship with the Ellsworth family and the outpouring of support for one another
which continues to this day. (the tail numbers on Brad's plane are Will Ellsworth's birthdate).

I have been one of !he few people outside of family who has been in contact with Brad since
he was arrested, and as is typical of Brad, his first concern is for his family and his employees,
he feels deeply responsible tor the impact his situation has iKKi on all of them, and wants
nothing more than the opporiunity to alleviate this impact to the best of his abilities, and
especially in the case of llis employees, be!ore it becomes irreparable. Brad understands and
is committed to making the personal sacrifices he'll need to undertake to accomplish this,
unfortunately it is made extremely difficult being held where he is.

Personally, like his children, extended family, and friends, I too will support Brad through this
time in his life where things appear to have gone off path. Brad has earned the love, trust, and
respect of many over the course of his life, and as such we now readily await to see how we
can support l1irn in his time of need.




Michael Simon Scott
1570 Clermont Drive 1/102
Naples, FL 34104
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                EXHIBIT C
Case 3:18-cr-00757-BRM Document 13 Filed 06/05/18 Page 6 of 72 PageID: 132




     May 23, 2018


     To Whom It May Concern,


    The purpose of this letter is to give you an understanding of who and what my youngest brother,
    Steven Bradley Mell is all abcut as a person. Bradley has always been a hard worker with
    integrity and determination to not only succeed at a job, but to do it the right way starting when he
    was 16 years old. At that age he started his own business with a friend washing and detailing the
    inside/outside of airplanes and cars. He did such a great job that ii didn't take long for hrs
    business to grow by word of mouth and for the next 4 years or so that was his summer job. He
    has carried his work ethic and integrity through into the business world where he has made many
    friends and has earned everyone's respect! In fact, he is so highly respected that he was asked to
    oe on the Board of Directors at a number of places, including the private clubs he belongs to as
    well as private schools and charities.


    Another point I'd like to make is that despite his success, he spends more time giving than taking
    while taking drastic steps to keep his actions as low key and private as possible as he is not
    looking for the attention. One great example of this is that Brad does Air Lifeline which is now
    known as Angel Life flights for people that need better medical care in a different part of the
    country so he either flies them himself to wherever or, at his own expense, has a pilot use his
    plane to get the patient to wherever they need to go. Another example is the amount of money he
    has helped raise for the schools and charities to help others (i.e Brady Camp for underprivileged
    kids from Newark. Mooreland Foundation, et al.). The list could go on and on but the bottom line
    is Brad is a man of strong character and integrity!


    In conclusion, I want the courts to know that Brad has have never been a problem to anyone and
    he adores his family more than you will EVER know! Brad truly is a good son and has been there
    for our Mother who is 81 and fighting cancer. One last thing I'd like to say is that Brad is the
    person my wife and I chose to be legal guardian of my 2 little girls should anything ever happen to
    us and to this day that has not changed. We KNOW him and TRUST him!!


    Sincerely,
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                EXHIBITD
  Case 3:18-cr-00757-BRM Document 13 Filed 06/05/18 Page 8 of 72 PageID: 134



                                                                                   May 24, 2018

To Whom it may concern -

I recently heard that Brad Mell is being held in jail. I have not spoken to Brad in several months and have
no details of what he has been accused of doing. I am writing because I have known Brad for most of my
life since we were childhood friends, and I wanted to share my observations of and personal interactions
with Brad in support of his character.

Brad and I grew up on the same street. While we were not extremely close friends, we attended the same
school and played on the same sports teams. Brad has always been a person who stood up for people and
treated everyone with respect regardless of their age and role. He was well-liked by everyone and would
always stick up for the underdog and be a trusted friend. In middle school, Brad would occasionally invite
me to his house let me ride on his mini-bike or snowmobile that he had worked very hard to buy for
himself. Starting in grade school, Brad was very driven and always had a job of sorts, and yet was very
generous with his coveted "toys" and loved to share the excitement of riding them.

Brad and I would see each other occasionally during our high school and college years. As adults, we both
eventually moved back to the community in which we grew up in New Jersey to raise our families. In my
observation, Brad has been a very involved father, dedicating time to his kids at their school and in sports.

I can't remember all the history, but Brad began to work in his Dad's business (which I recall as good, but in
somewhat of a decline before Brad became more involved). Similar to his childhood, Brad worked
extremely hard, strengthened the business and built significant professional success. Brad has applied this
success to help others. He has been an active volunteer and board member for many local organizations.
He gives generously of his time and money to help causes, organizations and people.

The most important thing I remember about Brad, and why I am writing this letter, is what Brad did for me
when my father died. Brad knew my father and knew how close we were. Brad had a similar relationship
with his father. My father died in July 2012 and we planned the funeral shortly thereafter. It was in the
middle of summer and many of my friends were on vacation and busy with their own young families.
Entirely on his own, Brad arranged to fly about 8 of my closest friends to attend the service and return
them back to their own families the same day so as not to disrupt family vacations. While Brad knows
these folks through mutual friends, these were my closest college friends - not his. He knew how much the
effort would mean to me at a very difficult time. He didn't ask anyone to help pay and wasn't doing it for
any kind of personal gain, but rather because he knew how great it would be for me to have such a strong
support network.

These are my personal experiences with Brad and I have always known him to have a great character.

Sincerely,

Perry Hall
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                EXHIBITE
   Case 3:18-cr-00757-BRM Document 13 Filed 06/05/18 Page 10 of 72 PageID: 136


l.AW OFFICES

CECONI         8c: CHEIFETZ, LLC
CARY B, CHEIFETZ                                                            26 DEFOREST AVENUE
UZANNE J, CECONI                                                                 SUITE 106
KIMBERLY A. RENNIE                                                           SUMMIT, N.J. 07901
VITO COLASURDO, JR.
                                                                                (908) 273-6300
CHRISTINA V. KOLEVICH
                                                                              FAX (9D8) 273-4797
ERIKA PONE HANDLER
                                                                        EMAIL: [LAST NAME]@CCFAMLAW.COM

NANCY C. RICHMOND
LINDA A. MAINENTI WALSH
    COUNSEL
                                             May 25, 2018


Via electronic~ David Hemandez@nipt.uscourts.gov and regular mail
David E. Hernandez, U.S. Pretrial Services Officer
Martin Luther King, Jr. Federal Building & Courthouse
50 Walnut Street~ Room 1018
Newark, New Jersey 07101

                   Re: Mell v. Mell
                       Docket No.: FM-18-724-18

Dear Mr. Hernandez:

    This firm represents Kimberly Mell in connection with a pending matrimonial action with her
husband Steven Bradley Mell. Mr. Mell's legal counsel in that matrimonial action has requested
that Ms. Mell provide your office with certain information that he believes may be relevant to
circumstances under which Mr. Mell may be released on bail. Accordingly, on behalf of Ms.
Mell, I am providing the following information to you which may be confirmed with our client if
necessary.

    First, Ms. Mell is supportive of Mr. Mell's release on bail.

    Second, Mr. Mell provides the financial support for our client's household, including the
three children. He does so through W.H. Mell, Inc., a business he owns and operates. Ms. Mell
is concerned that if Mr. Mell is not available lo operate the business because he is detained,
he will be unable to suppo1i the family.

    Third, there are two aircraft owned by a company that is held in a trust and Ms. Mell is the
trustee of that trust. As trustee, she will not consent to allow him to utilize the aircraft while the
criminal case is pending. Our firm is simultaneously notifying Mr. Mell's counsel that he is
prohibited from utilizing the aircraft during such time period.

    Please advise if you require anything further from me or from Ms. Mell regarding issues
relating to bail.
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CECONI & CHEIFETZ, LLC

David E. Hernandez, U.S. Pretrial Services Officer
Marfin l.. utl·1er King, Jr. Federal Building & Courthouse
May 25, 2018                                                                          Pagel2



     Thank you for your courtesy and kind attention.

                                                             Very truly yours,

                                                             CECONI & CHEIFETZ, LLC




CBC:sag
cc: Nancy C. Richmond, Esq.
    David J. Bruno, Esq., via electronlc and regular mail
    Robert A Bianchi, Esq., via oloctmnio and regular mnif
    Christopher L. Weiss, Esq., via electronic and regular mail
    Samuel Weiner, Esq, via electronic and rogular mail
    Donald A. Ottaunick, Esq., via efectronic and rogular mail
    Richard lglar, Esq., via electronic and regular mail
    Ms. Kimberly Mell, via electronic mall only
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MARCY M. MCMANN                                                                                                              skippy@sswp11,com
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                                                                                      December 28, 2017

              VIA WAX (908-806-4618) AND .REG!JL.lU< MAIL

               Assistant Prosecutor Kelly Daniels
               Hunterdon County Prosecutor's Office
               65 Park Avenue
               l?.O, Box 756
               E'lemington, New Jersey 08822-0756

              Re:              Brad Mall

               Dear Assistant Prosecutor Daniels:

              Please be advised that we represent Brad Mell.         It :is our
              onderstanding that your office and/or the Whitehouse Police
              Pepartment may be investigating Mr. Mell.       If so, please be
              advised that Mr. Mell is exercising his right not. to make a
              statement.   Any cornmmiications regarding this mat.ter shc,uld be
              directed to me.     Shol.lld your office intend to file criminal
              charges agalnst Mr. Mell, kindly contact us so we can arr.an9e foi::
              him to cooperate with processJ.ng.


                                                                                       Very truly yours,

                                                                                       STEPHENS. WEINSTEIN
                                                                                       A l?rofcessional. Co:rpor.ation

                                                                                       By:     ;lA ?fl___-·
                                                                                                  '1arcy M. McMann
                                                                                                 Attorney ID# 0222'1:l.993
                                                                                                 murcy@sswpa.Gom
              MMM:cpa
Case 3:18-cr-00757-BRM Document 13 Filed 06/05/18 Page 14 of 72 PageID: 140




                EXHIBIT G
 Case 3:18-cr-00757-BRM Document 13 Filed 06/05/18 Page 15 of 72 PageID: 141



                                A. SCOTT CAMPBELL, M.S., M.D.
                                           Gmum,1 Jnttmia! MtJdic/ilft
                                       2345 Laming!on Road, S\1lle 105
                                        B~dminster, New Jersey 01921
                                     'lei: 908,234-0B90 Fax: 908,234,1432

2/26/2() ! 8



T() whom it may conccn1)                                                 re: Mr. Steven Bradley Mell

Mr. Steven Bradky Mell has bccn my palicnt for twenty-two years. Folluwing the dctlih or a
very close frknd in 20!2, and the circumstances involved in his death, he hns had significant
issues with holh anxiety and depression.

He has been on a low dose of Xanax since the helicopter ernsh, in 2012. Ee in:onned me almost
three months ago about potential legal issues, and I have been seeing him for these past three
months, because of the stress and anxiety associated with his potential !et~al issues. He has been
under tremendous stress, and has had difficulty i1.11wlioning and sleeping.

l have been prescribing Xmrnx for several years, at a low dose. In the past tbrne months, I have
increased the dose of Xanax, and begun Paxil. As the stress ol'his situation has increased, I have
increased the dose of Xanax, and most recently, [ have been prescribing Clonawpam, so that he
can sleep at night He has been taking about 12 mgs. of Xanax daily, as well as 4 mgs, of
Clonazepam for sleep at night, in addition to Paxil, 20 mgs. daily.

He has recently informed me that in fact that he will be >HTcstcd and incmccralcd for al lcust two
days in the near future. He must no! abruptly discontinue these medications while incarcerated,
as to do so could trigger seizures and death. l will be glad to discuss Mr. Mell 's medical
treatment with an appropriate physician, so 1hal he is not subjected to abrupt discontinuation of
bis medications. I stress that uhrupi disc()n(inuution of his medications can have scl'iom, and
potentially lethal consequences.

You l,an ciill ,rn, in m.y office at (908) 234·-089(), or on tny cell µhone itt (908)963-0636 ill any
time. !fhis a,·,•,,sl does (JCCI.!!' when ! am no! in lhc nfncc, please call me on iny c~li phone.

r have provided a copy of this letter to his lawyers should the ,lrrcsting. offiec.r5 n()\ be nblc lo
promptly reach me.


Sincerely,

 ~~~no
A. Scott Campbel!, MS, MD
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                EXHIBITH
Case 3:18-cr-00757-BRM Document 13 Filed 06/05/18 Page 17 of 72 PageID: 143




                          OPERATING AGREEMENT

                                   OF

                     AERO CARE SERVICES, L.L.C.


     This Operating Agreement (this "Agreement") of Aero care
Services, L.L.C. (the "Company") is entered into as of June 27,
2000 by S. Bradley Mell ("SBM") and Kimberly Mell ("KM") (SBM and
KM shall hereinafter, at times, be referred to together as the
"Members" or individually as a "Member").

     WHEREAS, the Company was formed on June 27, 2000, upon the
filing of its Certificate of Formation with the Secretary of State
of the state of New Jersey;

     WHEREAS, the Members desire to adopt an operating agreement
containing provisions relating to the business of the company, the
conduct of its affairs and the rights, powers, preferences,
limitations and responsibilities of its members;

     NOW, THEREFORE, the Members do hereby adopt this operating
agreement as contemplated by the New Jersey Limited Liability
Company Act, N.J.S.A. 42:2B-1 §tl;. §.!l1.fL_ (the "Act").

     l.   Name. The name of the limited liability company governed
hereby is Aero Care services, L.L.C.

     2.   l?,ill;!}OJ,e. The Company is formed for the object and
purpose of, and the nature of the business to be conducted and
promoted by the Company is engaging in any lawful act or activity
for which limited liability companies may be formed under the Act.

     3.   Reg:i.stJ~;i::ed Office. The address of the registered office
of the Company .in the State of New Jersey is c/o Cole, Schatz,
Meisel, Forman & Leonard, P.A., 25 Main Street, Hackensack, New
Jersey 07602.

     4.   R~istered Agent. 'l'he name ar.d address of the registered
agent of the Company for service of process on the Company in the
State of New Jersey is Samuel Weiner, Esq., c/o Cole, Schatz,
Meisel, Forman & Leonard, P.A., 25 Main Street, Hackensack, New
Jersey 07602.

     5.   Members. The names of the Members are as set forth above
in the preamble to this Agreement.
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      6.   Powers. The business and affairs of the Company sl,all be
managed by the Manager. The initial Manager of the Company is SBJl'I.
The Manager shall have the power to do any and all acts necessary
or convenient to or for the furtherance of the purposes described
herein, including, without limitation, (il to incur debt on behalf
of the Company, (ii} to acquire or sell any assets of the Company,
 {iii) to provide indemnities or guaranties in the name and on
behalf of the Company, (iv) to enter into, perform and carry out
contracts of any kind, including, without limitation, contracts
with any person or entity affiliated with the Company, necessary
to, in connection with, convenient to or incidental to the
accomplishment of the purposes of the Company, and (v) to take any
and all other actions he deems necessary, desirable, convenient or
incidental for the furtherance of the objects and purposes of the
Company, and shall have and may exercise all of the powers and
ri.ghts conferred upon a limited liability company formed pursuant
to the Act.    The Company shall not be required to hold annual
meetings of its Members.

      In addition, the Members may, from time to time, appoint such
natural persons and such entities as they deem appropriate to
conduct business on behalf of the Company, to approve transactions
 (including, without limitation, mergers and transfers of assets) on
behalf of the Company and to execute documents as an "Authorized
Signatory" of the Company until such authorization is revoked by
the Members or another pe,:·son 01· entity authorized to affect such
revocation.     In furtherance of the foregoing, SBM is hereby
delegated full power and authority to conduct the business and
affairs of the Company, including, without limitation, power and
authority to (i) approve mergers, transfers of assets and any other
transactions on behalf of the Company; and (ii) execute any and all
deeds, mortgages, notes, bonds, leases, contracts and other
instruments on behalf of the company, in each case in the capacity
of an "Authorized Signatory". '!'he foregoing delegation ( 1) is in
addition to, and sl1all not be deemed to limit in any way, the
Authorized Signatory's authority to act on behalf o.f the Company as
a result of the Authorized Signatory's ownership, directly or
indirectly, of a controlling interest in the company or its
Members; and (2) shall continue until revoked by the Members or
another entity or person authorized to affect such revocation.

     7.   Dissolution. 'rhe Company shall dissolve, and its affairs
shall be wound up, upon the first to occur of the following, (a)
the written consent of the Members,        (b) the withdrawal or
bankruptcy of a Member, or the occurrence of any other event which
terminates the continued membership of a Member in the Company, or
(c) the entry of a decree of judicial dissolution under the Act.



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      B.   Admission,     Percentage    Interests        and    Capital
 Contributions.   The Members are hereby deemed        admitted as the
 Members of the Company as of June 2'7, 2000.          Each Member has
 contributed to the Company the capital set forth     below. As of the
 date hereof, the Members own percentage interests    in the Company as
 follows:

                                  Capital          Percentage
              Member              Contribution     Interest

              S. Bradley Mell     $                      99%
              Kimberley Mell      $                       1%


                                          Total,        1.00%

          Additional contributionJ,.. The Members are not required
         9.
to make any additional capital contribution to the Company.
However, the Members may, in their sole discretion, make additional
capital contributions to the Company.

     10. AlloQ~~-lon of Profits and Losses. The Company's profits
and losses shall be allocated to the Members in accordance with
their percentage interests in the Company as set fortl:; in Section
8 hereof.


    11.   D.istri.butions.   Distributions shall be made to the
Members at the times and in the aggregate amounts determined by the
Members.

     12.  Admission of Addj.tional Memb§X§.. One or more additional
members of the Company may be admitted to the company with the
consent of the Members.

     13. ,Limited Li.ii',bil,_;iJ::y. Except as otherwise provided by the
Act, the debts, obligations and liabilities o.f the Company, whether
arising in contract, tort or otherwise, shall be solely the debts,
obligations and liabilities of the Company, and the Members and the
Manager shall not be obligated personally for any such debt,
obligation or liabilJ.ty of the company solely by reason of being a
member or manager of the Company.

     14. Governi..!:i,g Law. This Agreement shall be governed by, and
construed under, the laws of the State of New ,Jersey, all rights
and remedies being governed by said laws, without regard to
principles of conflict of law.

     15. Treatment for Tax Purpos.§l§.. The Company shall be taxed as
the Members elect,

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       16. Amendmen.ts. This Agreement may not be modified, altered,
  supplemented or amended except pursuant to a written agreement
  executed and delivered by the Members.

        17, Indemnification of Indemnified Persons. To the fullest
  extent permitted by applicable law, in the event that a Member or
  Manager, or any of its direct or indirect partners, members,
  trustees,     directors,    officers,    shareholders,      employees,
  incorporators,    agents,    affiliates   or   controlling     persons
   (collectively, the "Indemnified Persons"; each, including the
  Member,   an "Indemnified Person"), becomes involved,          in any
  capacity,   in any threatened,      pending or completed action,
  proceeding or investigation, in connection with any matter arising
  out of or relating to the Company's business or affairs, the
  Company will periodically reimburse such Indemnified Person for its
  legal and other expenses (including the cost of any investigation
 and preparation) incurred in connection therewith, provided that
  such Indemnified Person shall promptly repay to the Company the
 amount of any such reimbursed expenses paid to such Indemnified
 Person if it shall ultimately be determined that such Indemnified
 Person is not entitled to be indemnified by the Company in
 connection with such action, proceeding or investigation as
 provided in the exception contained in the next succeeding
 sentence.    To the fullest extent permitted under the law of the
 State of New Jersey as the same exists or may hereafter be amended
  (but, in the case of any such amendment, only to the extent that
 such    amendment    permits   the   Company   to    provide    broader
 indemnification rights than said law permitted the Company to
 provide prior to such amendment), the Company also will indemnify
 and hold harmless each Indemnified Person against any losses,
 claims, damages, liabilities, obligations, penalties, actions,
 judgments, suits, proceedings, costs, expenses and disbursements of
any kind or nature whatsoever (collectively, "Costs"), to which
such Indemnified Person may become subject in connect.ion with any
matter arising out of or in connection witl1 the Company's business
or affairs, except to the extent tbat. any such Costs result solely
from the willful misfeasance, gross negligence or bad faith of such
Indemnified Person.       If for any reason (other than the willful
misfeasance, gross negligence, or bad faith of such Indemnified
Person) the foregoing indemnification is unavailable to such
Indemnified Person, oi: insufficient to hold it harmless, then the
Company shall contribute to the amount paid or payable by such
Indemnified Person as a result. of sucl1 Costs in sucl1 proportion as
is appropriate to reflect. not only the relative benefits received
by the Company on the one hand and such Indemnified Person on the
other hand but. also the relative fault of the Company and such
Indemnified     Person,    as   well   as   any   relevant     equitable
considerations.      Tl1e reimbursement, indemnity and contribution
obligations of the Company under this Sect.ion 1 7 shall be in

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 addition to any liability which the company may otherwise have to
 any Indemnified Person and shall be binding upon and inure to the
 benefit   of   any successors,    assigns,   heirs   and   personal
 representatives of the Company and any Indemnified Person. The
 reimbursement, indemnity and contribution obligations of the
 Company under this Section 17 shall be limited to the Company's
 assets, and no member or manager all have any personal liability on
 account thereof. Any amendment or repeal of this Section 17 shall
 net adversely affect any right or protection existing hereunder
 immediately prior to such amendment or repeal.       'rhe foregoing
 provisions shall survive any termination of this Agreement.

     18.  Exculpation.   Notwithstanding any other terms of this
Agreement, whether express or implied, or obligation or duty at law
or in equity, no Indemnified Person shall be liable to the Company
or any member or manager for any act or omission (in relation to
the Company,    this Agreement, any related document or any
transaction contemplated hereby or thereby) taken or omitted by an
Indemnified Person in the belief that such act or omission is in or
is not contrary to the best interests of the Company and is within
the scope of authority granted to such Indemnified Person by this
Agreement, provided that such act or omission does not constitute
willful misfeasance, gross negligence or bad faith of such
Indemnified Person.

     IN WITNESS WHEREOF, the undersigned, intending to be legally
bound hereby, have duly executed this Agreement as of the date
first above written.

WITNESS:                           MEMBERS:



                                   S. Bradley Mell




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                  EXHIBIT I
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                               ASSJGNMF:NT OF MRM1HtRSHIP lNTltRl!:ST


              FOR VALUE RECEIVED,!, STEVEN BRADLEY MELL, do hereby assign all

  ofn.y right, title ~nd interest in Rnd to a 99% Class B membership interest in AERO

  CARE SERVlCES, LL.C., a Ni:w Jersey limited liabili(y company, to KIMBERLY

  RUGGLES MELL, l]()l individually but solely as lrnslee of the STEVEN BRADLEY

  MELL 2012 FAMILY TRUST, dated              kc.    L8', 1'J=·: 2012.   Said assignee shall take

  Ille membership interest snbjeel IO all of the terms and conditions of the Opernting

  Agrce1nc,m for AERO CARE SERVICES, L,L.C,, dnted J1mrn1ry l. 200:l, as amended,




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                 EXHIBITJ
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                        SOMERSET COUNTY AIRPORT AGRE~NT

     I, STEVEN BRADLEY MELL, of the Township of Bedminster,

County of Somerset and State of New Jersey, do hereby agree to

the following:

1. I will not to access or use any hangar or aircraft at the

  Somerset County Airport including but not limited to a 1981

  Beech King Air, Serial Number BB-1209, FAA Registration Number

  N126SP ("King Air") which is currently being stored in a
                                                                   ..
  hangar at the Somerset Airport.

2. AERO Care Services, LLC is a company held in trust which owns

  the King Air.

3. My wife, Kimberly Ruggles Mell, serves as the trustee of AERO

  Ca.re Se!'.:'viccs,   LLC.

4. Kimberly Ruggles Mell, through a letter dated May 25, 2018

  written by her attorney Cary Cheifetz, Esq. to Da~id E.

  Hernandez, US Pretrial Services Officer, had also represented

  that she will not consent to my use or access to any of the

  aircraft owned by AERO Care Services, LLC, including but not

  limited to the King Air.




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  5. I also request that lock(sJ to the hangar which stores the

    King Air be changed as requested by Evan Van Gilson.



    IN WITNESS WHEREOF, I have hereunto set my hand and seal the        ··"7 '1 l_,t..,
                                                                        ✓ +"
                                                                       =--
    day of    be,·~ ,    2018.




                                           L. S.)

                                           STEVEN BRADLEY MELL

  Signed in the Presence of:

~:::---[;~?A            ~ -
  ROBERT A. BIANCHI, ESQ.




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                EXHIBITK
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                             OPERATING AGREEMENT
                                      FOR
                                   WNFW,LLC
                     A OELA WARE LIMITED LIABILITY COMPANY


 THIS OPERATING AGREEMENT ("Agreement") is made and ,mtered into and effective as of
 October I, 2014 by Steven Bradley Mell ("Member") with reference to the following facts:

 On September 30, 2014, a Certificate of Formation ("Certificate of Formation") for WNF, LLC
 ("Company"), a limited liability company under the laws of the State of Delaware, was filed
 with the Delaware Secrctmy of State.

 On October 1, 2014, a Certificate of Amendment ("Certificate of Amendmcul'') changing the
 name of the Company from WNF, LLC to WNFW, !LC, was filed with I.he Delaware Secretary
 of Stntc.

 The initial Members, Steven Brnclley Mell and Kimberly Ruggles Mell, hereby adopt and
 approve this Operating Agreement for the Company.

 NOW, THEREFORE, the parties by this Agreement set forth the operating agreement for the
 Company upon the terms and conditions contained herein.

                                      ARTICLE 1
                               ORGANIZATIONAL MATTERS

         1.1 Formation of the Company. The Company has been formed pursuant to the
 provisions of the Delaware Limited Liability Company Act as set forth in Title 6 (commencing
 with Section 18- l 0 I) of the Delaware Code (the "Act") by filing the Certificate of Fonnation
 with the Secretary of State.

          l.2 Name. The name of the Company is WNFW, LLC per the Certificate of
 Amendment. The M.embers shall operate the Company under such name or, upon compliance
 with applicable laws, any other name that Members deems approprialc or advisable. The
 Company shall file any fictitio\lS name certificates and sirnilar filings, and any amendments
 thereto, that Members considers appropriate or advisable.

         1.3 Tenn, The term of the existence of the Company shall be perpetual, commencing
 on the date of the filing of the Certificate of 11onnation with the Delaware Secretary of State,
 unless the Company is terminated or dissolved sooner in accordance with I.he provisions of this
 Agreement.

         1.4 !1..!!~incss anti Purpose of the Company_,     The pmposc of the Company is to
 lease equipment and to engage in any lawful activity for which a limited liability company may
 be organized under the Act.
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         1,5 Principal Pince of Business. The Company's principal place of business shall be
 located at c/o Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, DE
 19808. The Company may locate its place or places of business and registered office at any
 other place or places as the Members may from time to time deem advisable.

         1.6 Resident Agent. The nnme and address of the Company's resident agent in the
 State of Delaware is as follows:

                                   c/o Corporation Service Company
                                   2711 Centreville Road, Suite 400
                                   Wilmington, Delaware I 9808

 The registered ollice and registered agent may be changed from time lo lime by filing the
 address of the new registcned office and/or the name of the new registered agent with the
 Secretary of State of the State of Delaware pursuant to the Act.

          1.7     Members and Membership Interests. The name, address and percentage
 ownership of the Members are as set forth on Schedule A atlached hereto and made a part hereof
 and his contribution on Schedule B attached hereto and made a part hereof. "Members" shall be
 defined as each of the parties who executed a counterpart of this Agreement as a Member and
 each of the parties who may therca1ter become a Member. Additional Members may be admitted
 pursuant to this Agreement and the Act. If a person or entity is n Member immcdintely prior to the
 purchase or other acquisition by such person or entity of an economic interest, such person or
 entity shall have all of the rights of a Member with respect to such pmchasect or otherwise
 acquired Membership Interest, as the case may be. A "Membership lnt~,rcst" is a Member's
 entire interest in the Company, including such Member's economic interest and such other rights
 and privileges that the Member may enjoy by being a Member.


                                      ARTICLI~ 2
                         CAPITAL ACCOUNTS AND CONTRIBUTIONS

         2. l   Member's Capital Contributions. Not later than three days allcr execution of
 this Agreement, eaeh Member shall contribute its initial capital contribution as slated in 39.b.1e,!.t1Je.
 L\ hereto. Fach Member shall be required to make Additional Capital Contributions on a
 monthly or quarterly basis or as otherwise determined by the Company pursuant to this
 Agreement.

                a.      Additional Contriliutions. From time to time and upon a two-thirds vote of
        the Members which are not in default or continue to be in default pursuant to this
        Agreement or any other agreement by and between any such Member and the Company
        (hereinafter "Member in Good Standing"), the M.embers in Good Standing may determine
        from time to time that additional capital contributions are needed to enable the Company to
        conduct its business and affairs. Upon making such a determination, notice thereof shall be
        given lo all Members in writing at least ninety (90) days prior to the date on which such
        additional contributions are needed. The notice shall describe in reasonable detail !he


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        purposes and uses of the additional capital, the amount of additional capital needed, the date
        by which the additional contribution is required and the proportion of contribution from
        each Member.

          2.2     Capital Accounts. A separate Capital Account shall be maintained for each
 Member. Each Member's Capital Account shall be increased by (1) the amount of money
 contributed by such Member to the Company; (2) the fair market value of property contributed
 by such Member to the Company (net of liabilities secured by such contributed property that the
 Company is considered to assume or take subject to under the Internal Revenue Code);
 (3) allocations to such Member of profits; and (4) any items in the natme of income and gain
 which are specially allocated to the Member pursuant hereto. Each Member's Capital Account
 shall be decreased by (I) the amount of money distributed to such Member by the Company:
 (2) the fair market value of property distributed to such Member by the Company (net of
 liabilities secured by such distributed property that such Member is considered to assume or take
 subject to under the Internal Revenue Code); (3) any items in the nature of deduction and loss
 that are specially allo.catcd to the Member pursuant hereto; and (4) allocations to such Member
 oflosses.

 Without limiting the other rights and duties of a transferee of a Membership Interest pursuant to
 this Agreement, in the event of a Permitted Transfer of a Membership lnterest in the Company,
 (1) the Capital Account of the transferor shall become the Capital Account of the transferee to
 the extent it relates to the trnnsferred .Membership Interest in accordance with the applicable
 Treasury Regulations; and (2) the transferee shall be treated as the transferor for purposes of
 alloca1ions and distributions pursuant hereto, to the extent that such ullocations and distributions
 relate to the transferred Membership Interest.

 Upon liquidation of the Company, liquidating distributions shall be made in accordance with the
 positive Capital Account balances of the Members, as determined after taking into account all
 Capital Account adjustments for the Company's taxable year during which the liquidation
 occurs. The Company may offset damages for breach of this Atireement by any Member or any
 agreement by and between any such Member and the Compmiy, whose Membership Interest is
 liquidated or Transferred (either upon the withdrawal of the Member or the liquidation of the
 Company) against the amount otherwise distributable to such Member. No Member shall have
 any obligation lo restore all or any portion of a deficit balance in such Member's Capital
 Account. A Member shall not receive a distribution of any part of its Capital Contribution to the
 extent such distribution would violate this Agreement.

          2.3 Distributions. Subject to applicable law, from time lo tirne and upon a two-thirds
 vote of'lhc Melllbers in Good Standing the Company may distribute "Available Cash Flow".
 "Available Cnsh Flow" means, with respect to any period, the sum of all cash receipts of the
 Company from any and all sources, less all cash disbmscments and a reasonable allowance for
 reserves, contingencies and anticipated obligations as determined by the Members in Good
 Standing.

         2.4 Retul'n of Distributions.       Except for distributions made in violation of the Act
 or this Agreement, the Members shall not be obligated to return any distribution to the Company


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 or pay the amount of any distribution for the account of the Company or to any creditol' of the
 Company. The amount of any distribution l'eturned lo the Company by the Members or paid by
 the Members for the account of the Company or to a creditor ofll1e Comp1111y shall he added lo
 the account or accounts from which it was subtracted when it was distributed to the Members.

         2.S     Allocations of Profits and Losses. The pl'Ofits and losses for each fiscal year for
 operations related to the assets and properly of U1e Company and other Company maHers shall be
 allocated to the Members in Good Standing proportionately in accordance with their
 Membership Interests.

         2.6      Interest on nnd Rcl!Jm of Capital Colltributfolls. No Member shall be entitled
 to interest on its Capital Contribution or to i-eturn of its Capital Contribution, except as otherwise
 specifically provided for herein.

          2.7     Loans to Comnimy. Nothing in this Agree1110111 shall p1·cvent any Member from
 making secured or unsecured loans lo the Company by agreement with the Company and the
 other Members. The amount of any such loan or advance shall not be treated as a contribution to
 the capital of the Company but shall be a debt due from the Company, pa)'able in full, together with
 accrued interest, prior to any distribution thcreaf\er lo any Member. All such loans nr advances
 shall be repayable, pro rata, from net cash flow available from lime to time and shull bear interest,
 until fully repaid, at a floating rate equal lo five (5) percentage points in excess of the prime
 commerci,11 lending rate in effect from time to lime al the principal bank used by the Company for
 banking and borrowing purposes. In addition to the Member loans, the Company may borrow
 fonds pursuant to the ten11s and condHions of this Agreement from commercial lending institutions,
 individuals, private firms, COl'pOrnlions, or other entities 011 commercially reasonable terms.

         2.8    Tllx Matte1·s Partner. Steven Bradley Mell is hereby designated the Tax Matters
 Partner ("TMP") as defined in the Intenrnl Revenue Code. The TMP shall not make any
 decision or take any action without the prior authorization of two,thirds of !he Members in Good
 Stm1di11g.

         2.9     Optiomd IRC Elections. The Company has the right, but not the obligation, to
 make any applicable cleelions available under the Internal Revenue Code.

         2.10 Remedies for Non"Paymeut of Additionnl C!1pital Contributiqns ;md other
 defaults. If any Member or (llher equity owner (hcreinnller, collectively "ltquity Owner") foils to
 make foll m1d timely payment to the Company of m1y addilional Capital Contribulion prnperly
 assessed hereunder, or if any i\.1ember defuuits on any loan and such loan utilizes any asset of the
 Company as collattrnl ("Third Party Lonn"), such failure or deHmll shall constitute a breach of
 this Agreement (and any such Equity Owner shall be hcreinalkr rctbrred to as a "Defaulting
 Equity Owner"). Upon such fl breach and upon breach under any other agreement between
 Company and any Member, the Non-Defaulting Equity Owners shall promptly give notice (the
 "Defaull Notice") to all Equity Owners of: (a) the breach and (b) a special meeting to discuss the
 Hppwpriatc course of action. ln ,he event a Dcfoulting Equity Owner dcfaulls on any Third Party
 Loan, such Dcfimhing Equity Owner shall be deemed W be a Member not in good standing
 hcrcund("!' as of the date of such default and the. Nnn-Dd'aulling Equity Owners may utili,-e ony
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 remedies provided under this Agreement wi1hout regard to the no1ice provisions conlained in this
 Section 2.10 regarding remedies. The Equity Ownern who timely satisfied !heir obligaiion to make
 the required Additional Capital Contributions and all other obligations under this Agreement ,md any
 other agreement by nnd between m,y such Member and the Company (lhe "Non-Defaulting EtJtdty
 Owucrs") may, upon the affirmative vote of those Non-Defaulting Equity Owners which are
 Members in Good Standing holding a majority of the Membership Interests owned by all Non-
 Defaulting Equity Owners which are Members in Good Standing, pursue ihc following courses or
 action:

                  a.     The Non"Defaulting Equity Owners shall have the option, but no obligation,
        to          the Company wilhin sixty (60) days after the Defoul! Notice is given (the "Loan
             10111110
        Decision Period") the amo11nt which the Defaulting Equity Owner(s) have failed to
        contribute lo the Company (proportionate to the ratio of the Membership Interest held by
        each respective Member in Good Standing electing to loan funds, to the Membership
        Interests held by all Members in Good Standing electing to advance fonds). The ammml
        that is loaned by any Non-Defaulting Member shall, al the eleclion of each such Member in
        Good Standing (exercised by written notice to the Defaulting Equity Owner and the
        Compm,y al the time the loan is made), be lreated in either of the following manners:

                  (!)    The loan may be treated us a loan to the Company bearing interest not less
                         than a floating rnte equal to five (5) percentage points in excess of the prime
                         commercial lending rate in cffeel from lime to time at the principal bank
                         used by the Company for banking and brnmwing pmpose.~, but not
                         exceeding the maximum rnte allowable by applicable law (the "Default
                         Rntc"), payable from any fonds paid by, or wi!hhckl by the Company from,
                         the Defa\llling Equity Owner to cure the breach, or at such other time as the
                         Company and the lending Members i11 Good Standing may agree. Payments
                         shall be credited first to accrned interest. The promissory note or other loan
                         documentation shall contain such other terms and conditio11s as mutmrlly
                         agreed by the Compnny and the lending Members in Good Standing.
                         Furthennore, the Non-Defaulting Member(s) may, but shall not be required
                         to, allow Non"Defoulting Equity Owncrn to participate in making such loans.

                   (2)   The lrnm may be trnakd as a loau to 1.l,e l)efoulting Equity O¼~ler
                         (specifically secured by lh: Defaulting Eq11ity Owner's it1tercst in the
                         Company, which such sectn'(:d interest may, at the option of the lending
                         party, be frn·ther secured by recording a financing statement and/or as
                         otherwise reasonably rcq111red by the lending party to secure such loan),
                         followed by a contribution or the borrowed fonds to the Company by the
                         Dcfuulting Equity Owner curing the breach in whole or in part Such ,1 loan
                         shall be payable on demand and benr interest at 1he Default Rate. Until the
                         Defaulting Equi\y Ownor's debt to imy Non"Defaulting Equity Owners,
                         together with interest thereon, is paid in full, any funds or prnpcrty which
                         would otherwise be distrilmlcd lo lhe Defaul1ing Equity Owner from time to
                         time hereunder shall be paid to such Non-Defaulting Equity Owners,
                         according to their respective shares of' lom1s (which arc treated as loans to the


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                     Defaulting Equity Owner). Any such payments shall be deemed to be
                     distl'ibutions to the Defaulting Equity Owner by the CompMy, followed by
                     appropriate payments by the Defoulting Equity Owner lo the respective Non-
                     Defaulting Equity Owners. Payments shall be credited first lo accrued
                     interest. Payments to Non-Defoul1ing Equity Owners of loans by them
                     pursuant to either Article 2. lO(a)( I) or 2.1 0(a)(2) herein shnll be made pal'/
                     J)ll,\WU.


               b.      li'ilie Non-Defou!ting Equity Owners do not make loans pursuant to Article
      2. l 0 above in the amount at least equal to the amoun! which the Defaulting Equity Owner
      foiled to contribute (and the Defaulting Equi!y Owm,r has not cured said breach prior to the
      expiration of the Lonn Decision Period), then promptly upon the expiration of the Loan
      Decision Period, the Non-Defauiling Equity Owners shal! give notice (the "l>efault
      Purchnse 01>tio11 Notice" as more folly described below) lo all of the Members. The N,m•
      Defaulting Equily Owners slm!I have the option (but no obligation) for the sixty (60) day
      period commencing upon the date oflhe Default Purchaw Option Notice to pmchase all, but
      not less than all, of a Defaulting Equity Owner's Interest ns provided in this Article. The
      option granted in ihis Article (the "Default Purchase Option") shall be n Pcrmitled
      Transfor and be exercisable in the following mnm1er and in accordance with lhe following
      terms:

             (I)     The Defaulting Purd1nse Option Notice shall notify the Non-Defaulting
                     Equity Owners that they huve the opportunity to purchase all, but not less
                     than all, of the Memlx,rship lnlcrest owned by the Defaulting Equity Owner
                     ("Available Membership Interest"). Similar lo Article 2. IO(a)(t), the Non•
                     Defaulting Member(s) may, but shall not be required to, allow Non-
                     Dcfaulti1\g Equity Owners to acquire n portion of such imeres! which, if
                     acquired by such non-Member, shall be an equity interest and not a
                     Membership lntt,rcsr.

             (2)     A Non-Defoulling Equity Owner desiring to exercise the Default Purchase
                     Option shall so notifi' (the "Exercise Nolice") the Defaulting Equity Owner
                     and the Company within forty-!lvc (45) days al\er the date thm the Default
                      Purchase Option Notice is given,

             (3)      Each Non-Defaulting Equity Owner electing to exercise the, Default
                      Purchase Op!ion (each an "Electing Member" and collectively the
                      "Electing Members") shall be entitled to purchase a por(i(Jn of the Available
                      Membership Interest proportionate to the ratio of the Membership lnlcres1
                      held by ench Elec1ing Mcmlmr lo the Membership Interests held by al!
                      Electing Members electing to exercise the Default Purchase Opti()J1,

              (4)     The closing for any purch,1se and sale of the Available Membership Interest
                      purs11ant lo this Article shall take place within ninety (90) days after the date
                      that the Default Purclmsc Option Notice is given. The specific time and
                      place of closing shall be as agreed by the Electing Members and the


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                      Defaulting Equity Owner; provided, however, that in the absence of
                      agreement, the closing shall take place at the Company's principal office at a
                      time reasonably s,:t by the Company.

              (5)     The price for the Defaulting Equity Owner's Ownership Interest (the
                      "Default Buyout Price") shall be equal to seventy five percent (75%) of the
                      value of the Available Membership Interest as of the last day of the month
                      preceding the month in which the Exercise Notice is given. For purposes of
                      this Article the value of the Available Membership Interest shall be
                      determined by a nrnjority of three (3) independent appraisers, two (2)
                      selected by the Electing Members and the third selected by the other two
                      (2) appraisers. Such determination shall be final for purposes of this
                      Agreement. Al.I costs of the appraisers and the appraisal prncess shall be
                      deducted from the De.foul! Buyout Price before the Default Buyout Price is
                      paid to the Defaulting Equity Owner.

              (6)    Upon any purchase of a Defaulting Equity Owner's Membership Interest
                     pursuant to this Article, the Default Buyout Price may he paid at closing in
                     immediately available i\Jncls, or, in the sole discretion of each Electing
                     Member, by delivering at closing a note issued by the Electing Member(s) as
                     payment for tl1c portion of the Buyout Price attributable to the portion of the
                     Membership Interest to be purchased by the Electing Equity Owner. The
                     notes issued as payment for the Default Buyout Price shall be negotiable
                     promissory notes of the Company or of the Electing Equity Owner, as
                     ,ippropriate, bearing interest per annum at a floating rate of one (l)
                     percentage point over the prime commercial lending ralc in effoct from lime
                     to time at the principal bank used by the Company for banking and
                     bol'!'owing purposes. Any such notes shall provide for paymenls of principal
                     and interest in equal consecutive quarterly installments over a period of not
                     more than five (5) years from the date of issuance of such note, commencing
                     from the date of issuance of such note, Any such notes shall be prcpayable
                     without penalty, in whole or in part, with prcpayrnents applkd to the last
                     instalhnent or installments coming due. Such notes shall pmvide tlmt if any
                     ins!allmenf of principal or interest is not paid when due or if' suit is bronght
                     thereon, !he nrnker will pay all costs of collection, including reasonable
                     attorneys' foes.

             (7)     After purchasing an Available Membership Interest, each EkGting Member
                     shall make an additional Capital Contribution to the Company in an amount
                     equal to the proportionate shmc of the rlcfoultccl capital contribution
                     attributable to the portion of the Available Membership Interest purchased
                     by the Electing Member.

               c.      If the Non-Defaulting Equity Owners do not make loans pursuant to Article
      2.10 above in the 11111ount at least equal to the amount which the Defaulting Equity Owner
      failed to contribute, or purchase all, but not less than all, of a Defaulting Equity Owner's


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         Interest pursuant to Article 2. IO above, then the Non-Defaulting Equity Owners may
         provide written notice to the Defaulting Equity Owners that the assets of the Company
         are to be sold and the Company dissolved pursuant to this Agreement. Each Member
         hereby acknowledges the reasonableness of the required sale and dissolution restrictions
         imposed by this Agreement in view of the Company purpose and the relationship of'the
         Members. Accordingly, the required sale and dissolution restrictions imposed by this
         Agreement shall be strictly enforceable.

                                 ARTICLE3
                    MANAGEMENT: RIGHTS, POWI,RS AND DlJTms

         3.1 Management. The company shall be managed by the Membcr(s) who may each
 act independently of each other when transncting the business of the Company. The Company
 shall have all of'the powers granted to a limited liability company as set forth in the Act, as
 amended from time to tillle.

                a.      Office1·s. The Members in Good Standing may from time to time, appoint
        one or more ofl1cers as they may deem advisable, bul need not appoint any oflicers. Any
        officer of the Co!llpany shall hold his or her office at the pleasure of the Members in
        Good Standing or for such other period as the Members in Good Standing may specify at
        the time of his or her appointment, or until his or her death, resignation or removal by the
        Members in Good Standing, whichever first occurs.

                b.      9ther Agents. The Members in Good Standing may also appoint in
        writing such other agents for the Company as they shall deem necessary or advisable,
        each of whom shall serve al the pleasure of the Members in Good Standing or tor such
        period as the Members in Good Standing nmy specify, and shall exercise such powers,
        have such titles and perform such duties as shall be determined from time to time by the
        Members in Good Standing or by an officer empowered by the Members in Good
        Standing to make such determinations.

         3 .2    Other Activities.       The Members, officers, and their affiliates may engage in
 or possess interests in other business ventures of every kind and dcsuiption for their own
 account, and in so doing shall incur no liabilily to the Company as a result of engaging in any
 other business or ventures or as a result of deriving income or profits therefrom. Neither the
 Members, officcrn, nor any of their affiliates shall be obligated to present any particular
 investment opportunity to the Company, even if the opponunity is of a clrnrncter which, if'
 presented to lhe Company, could be taken by the Company; ft1rlhcr, imy of the foregoing parties
 shall have !he right to take for their own account or to recommend to others any investment
 opportunity.

         3.3    No Required Meetings. The Members may, but shall not be required to hold any
 annual, periodic or other formal meetings. Meetings of' the Members may be called by any
 Member. The Member or Members calling the meeting may designate any place within the State
 of New Jersey as the place of meeting for any meeting oflhc Members. lfno designation is
 made the place of meeting shal.l be the principal executive office oft he Company. WriHen



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 notice stating the place, day and hour of the meeling and the purpose or purposes for which the
 meeting is called shall be delivered not less than ten ( I 0) nor more than fifly (50) days before the
 date of the meeting, either personally or by mail, by or at the direction of the Member or
 Members calling the meeting, to each Member. If Hll of the Members shall meet al any time and
 place, either within or outside of the State of New Jersey, and consent to the holding ofa meeting
 at such time and place, such meeting shall be valid without call or notice, and at such meeting
 lawful action may be taken.

         3.4      Quorum. Members in Good Standing holding al least two-thirds of the interests
 of the Company, represented in person or by proxy, shall constitute a quorum at any meeting of
 Members. In the absence of a quorum at any such meeting, a majority of the voting interests so
 represented may adjourn the meeting from time to time for a period not to exceed thirty (30)
 days without further notice. However, if the adjournment is for more than 1hirty (30) clays, or if
 after the adjournment a new record elate is fixed for the adjourned meeting, a notice of the
 adjourned meeting shall be given to each Member of record. At such adjourned meeting at
 which a quorum shall be present or represented, any business may be transacted which might
 have been transacted at !he meeting as originally noticed. The Members in Good Standing
 present at a duly organized meeting may continue to transact business until adjournment,
 notwithstanding the withdrawal during such meeting of that number of Members in Good
 Standing whose absence would cause less than a quorum.

         3.5      Action by Members Without a Meeting. Action required or permitted to be
 taken at a meeting of Members may be taken without a meeting if the action is evidenced by one
 or more written consents or approvals describing the action taken and signed by Members in
 Good Standing. Action taken under this Article is effective when all members sufficient to form
 Members in Good Standing have signed the consent or approval, unless the consent specifics a
 different effoctive date. The record date for determining Members in Good Standing entitled to
 take action without a meeting shall be the daw the first Member in Good Standing signs a written
 comcnt.

         3.6     Wuivcr of Notice. When any notice is required to be given to any Member, a
 waiver thereof in writing signed by the person entitled to such notice, whether before, at, or after
 the time stated therein, shall be equivalent to 1hc giving of such notice.

        3.7     Indemnification.

                 a. Indemnification of Members and Officers. The Company, its receiver or
        its trustee, shall indemnify and hold harmless the Members, officers, their affiliates,
        oniccrs, directors, employees, agents, shareholders, heirs, successors and assigns
        (hereinafter collectively referred to, for purposes of this Article, as the "lndemnitees"),
        jointly and severally, from and against any and all losses, claims, demands, costs,
        damages, liabili1ies, joint and several, expenses of nature (including reasonable aHorncys'
        fees and disbursements), judgments, fines, seHlements and other nmounts arising from
        any and all claims, demands, actions, suits or proceedings, whether civil, criminal,
        administrative or investigative, in which tho lndcmnilcc was involved or may be
        involved, or threatened to be involved, as a party or otherwise, arising out of the business


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         or operations of the Company, regardless of whether the lndemnitce continues to be a
         Member, officer, an an\liatc, or an officer, shareholder, director, employee, or agent of a
         Member at the time any such liability or expense is paid or incurred, to the fullest extent
         permitted by the Act and all other applicable laws. However, no indemnification shall
         be provided for any person with respect to any matter as to which he or she shall be
         adjudicated in any proceeding not to have ncted in good faith with the reasonable belief
         that his/her action was in the best interest of the Company.

                 b. Expenses.           An lndcmnitee, in defending any claim, demand, action,
         suit or proceeding subject to this Article shall, from time to time, be advanced funds by
         the Company to pay the reasonable expenses of such Jndcmnitec, prior to the final
         disposition of such claim, demand, action, suit or proccccling, upon receipt by the
         Company ofan undei-taking by or on behalf of the [ndcmnitcc to repay such amount ifit
         shall be determined that such person or entity is not entitled to be indemnified as
         authorized in this Article.

                 c. Indcmnifictttion Rights Non-Exclusive.               The indemnification provided
        by this Article shall be in addition lo (and not in lieu ot) any other rights to which those
        indemnified or otherwise, bo1h as to action in the lndemnitee's capacity as a Member,
        officer, as an affiliate or as an officer, director, employee, or agent, shareholders, heir,
        successor or assign of a Member and as to any action in another capacity, and shall
        continue as lo an Indcmnitec who has ceased to serve in such capacity and shall inure to
        the bcnelit of the heirs, successors, assigns and administrators of such Indemnitee,

                                         ARTICLE4
                              DI§§..QLUTION AND LIOlJIDATlON

          4.1    Dissolution. The Company shall dissolve and commence winding up upon the
 first to occur of any of the following events ("li:vcnts of Dissolution"):

                a.      The sale or other disposition (including, without limitation, taking by
        eminent domain, but ex.eluding any like"kind exchange) of substantially all the assets and
        property ofil1e Company unless such sale or other disposition involves any deferred
        payment of the considcrntion for such sale or disposition, in which case the Company
        shall not dissolve until the last day of the calendar year during which the Company shall
        receive the balance of such deferred payment;

                b.      The happening of any other even! that makes it unlawfol, impossible, or
        impractical to carry on 1he business of the Company or upon the ,mtry ofa decree of
        dissolution under the Act; or

                c.      The mutual agreement of the Members in Good Standing.

 The Members hereby agree that, notwithstanding any provision of the Act, the Company shall
 not dissolve prior to the occurrence ohm Event of Dissolution If' it is determined, by a court of
 competent jurisdiction, that the Company has dissolved prior to the occu,Tcncc of an Even! of



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 Dissolution, the Members hereby agree to continue the business of the Company without a
 winding up or liquidation.

          4.2     Winding Up. Upon the occurrence ofan Event of Dissolution, the Company
 shall continue solely for the purposes of winding up its affairs in an orderly manner, liquidating
 its assets, and satisfying the claims of its creditors and Members. No Member shall take any
 action that is inconsistent with, or not necessmy to or appropriate for, winding up the Company's
 business affairs. The Members in Good Standing shall be responsible for overseeing 1he winding
 up and liquidation of the Company and shall take foll account of the Company's liabilities and
 assets and property, and the assets and properly shall be liquidated as promp!ly as is consistent
 with obtaining the fair value thereof; and the proceeds therefrom, to the extent sufficient
 therefore, sha11 be applied and distributed in the following order:

                 a.     To the payment and disc.hmge of all of the Company's debts and liabilities
                        (other than those to the Members), including the establishment of any
                        necessary reserves;

                 b.     To the payment of any debts and liabilities to the Members;

                 c.     To the Members, in accordance with their positive Capital Account
                        balances; and

                 d.     Fina11y, to the Members in proportion with their respective Membership
                        Interest percentages in the Company.

        4.2.1 Rights of Members. Except as otherwise prnvidcd in this Agreement, each
 Member shall look solely to the assets of the Company for the return of its Capital Contribution
 and shall have no right or power to demand or receive property other than cash from the
 Company. Mcmlx,rs in Good Standing slrnll have priority over any Members not in good
 standing as 1o the return of his Capital Contributions, distributions or allocations, unless
 otherwise provided in this Agreement.

         4.2.2 Notice of Winding Up. If an Event of Dissolution occurs or an event occms that
 would result in a dissolution of the Company, the Members shall, within thirty (30) days
 thcreafler, prnvidc written notice to other parties with whom the Company regularly conducts
 business (as determined in the discretion of the Members) and shall file a written notice of
 winding up pursuant to the Act.


                                    ARTICLI<: 5
              LIMITED TRANSFli:RA.BILITY OF MW\1BERSHIP INTERESTS

        5.1      General. Except as otherwise specifically provided herein, no Member slrnll
 have the right to sell, assign, exchange or otherwise transfer (whether or not such transfer is for
 consideration), pledge, hypothecatc or grant a security interest in (collectively, "Trnusfcr") its
 Membership Interest without the written consent of two-thirds vote of the Members in Good
 Standing, which may not be unreasonably withheld and any consents required by any loans,


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  leases or other financing arrangements of the Company. Each Member hereby acknowledges the
  reasonableness of the restrictions on Transfer of Membership Interests imposed by this
  Agreement in view of the Company purpose and the relationship of the Members. Accordingly,
  the restrictions on Trnnsfors contained herein shall he strictly enforceable.

         5.2       Pel'mittcd Tnrnsfers. Subject to the conditions and restrictions set forth in this
  Agreement, provided no material default by Member has occurred and is continuing under this
  Agreement or any other agreement by and between such Member and the Company, a Member may
  Transfer all or any portion of its Membership Interest to one or more of the following (a
  "Pcm1ittcd Transfer"):
                 a.      Any other Member su\"jcct to Article 5.5 below, provided that such
                 Member is not in default or continues to be in defm1h pursuant to this Agreement
                 or any other agreement by and between such Member and the Company;
                 b.     Any affiliate nr family member of the trnnsferor;
                 c.     In the case of a transferor which is a trust or estate, any beneficiary of such
                        transferor trust or estate or any trust for the exclusive benefit of one or
                        more of the beneficiaries of the transferor trust or estate or of members of
                        any such beneficiary's spouse, natural or adoptive lineal ancestorn or
                        descendants, and trusts for his or their exclusive benefit; or
                 d.     Transfers of an interest pmsuant to Article 5.5 below.

 Subject to the conditions and restrictions set forth in this Agreement, provided no material default
 by Member has occurred and is continuing ,mder this Agreement, a Member may Transfer all or
 any portion of its Membership Interest to the following at any lime which shall also be a
 Permitted Transfer:

                 a.     The transfemr's executor, administrator, trustee, or personal representative
                        to whom such Membership Interest is transferred f1t death or involuntarily
                        by operation of law .

        .5.3   Conditions to Permitted Trnnsfcrs_, A Trnnsfor will not be treated as a
 Permitted Transfer under Article 5 unless and until the following conditions arc satisfied:

                 a.      Except in the case of a Transfer at death or involuntarily by operation of
                 law, the lransferor and transferee will execute and deliver to the Company such
                 documents and instruments of conveyance as may be necessary or appmpriatc in
                 the opinion of counsel to the Company to effect such Transfer and to confirm the
                 agreement of the transferee lo be bound by the provisions of this Article 5. In the
                 case of a Transfer at death or involuntarily by operation of law, the Trnnsfor will
                 be confirmed by presentation to the Company of legal evidence of such Transfer,
                 in form and substm1cc satisfactory to counsel to the Company. In all cases, the
                 Company will be rcimbmsed by the transferor and/or transferee for all costs mid
                 expenses that it reasonably incurs in connection with such Trnnsfor, including any
                 and all accounting and other expenses incurred as a result of adjustments to basis



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            of the Company's assets pursuant to the Internal Revenue Code. A two-thirds vole
            of the Members in Good Standing may waive this condition in their discretion.

            b.      Except in the case of a Transfer at death or involuntarily by operation of
            law, the transferor will furnish to the Company an opinion of counsel, which
            counsel and opinion will be satisfactory to the Company, that the Transfer will not
            cause the Company to terminate for federal income tax pmposes and that such
            Transfer will not cause the application of the rules of the Internal Revenue Code
            generally referred to as the "tax exempt entity leasing rules" or similar rules to
            apply to the Company, the property of the Company, or the Members. A two-
            thirds vote of the Members in Good Standing may waive this condition in their
            discretion.
            c.      The transferor and transferee will furnish the Company with the
            transferee's taxpayer idcn1ification number, sufficient. information lo determine
            the trnnsf-eree's initial tax basis in the Membership Interest transferred, and any
            other information reasonably necessary lo permit the Company to file all required
            federal and state tax returns and other legally required information statements or
            returns. Without limiting the generality of the foregoing, the Company is not
            required to make any distribution otherwise provided for in this Agreement with
            respect to any transferred Membership Interest until it !ms received such
            information.
            d.      Except in the case of a Transfer at death or involuntarily by operation of
            law, either such Membership Interest will be registered under the Securities Act
            of 1933, as amended, and any applicable state securities laws, or the transferor
            will provide an opinion of counsel, which opinion and counsel will be satisfactory
            to the Company, to the c.ffect that such Transfer is exempt from all applicable
            registration requirements and that such Transfer will not violate any applicable
            laws regulating the Transfer of securities. A two-thirds vote of the Members in
            Good Standing may wnive this condition in their discretion.

            e.      In order to effectuate any Pcrmit1ed 'J'rnnsfor of a Membership Interest, the
            transferring Member shall require any such assignee or transforor lo accept and
            assume in writing all of the applicable terms of this Agreement and any other
            applicable agrec111cnts by and between the transferring Member and the Company
            and the assigning Member shall send such acceptance and assumption, together
            with a written notice of the 'J'ransfor lo all Members, promp(ly af\cr
            consummation of the same. The remaining Members may, but shall not be
            obligated to join with the assigning Member and any such assignee in the
            execution of am.cndment to this Agree111cnt admitting such assignee as a Member
            and, if only a portion of this assigning Member's Membership Interest is being
            assigned, modifying such terms hereof as are reasonably necessary to allocated,
            between the assigning Member and such assignee, such of the assigning
            Me.mber's rights and obligations hereunder as the assigning Member wishes to
            allocate.



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              f.      Such transfer must be acceptable to two-thirds of the Members in Good
              Standing in terms of such transferee's creditworthiness, geographic location of
              flight patterns and any other factors the Members in Good Standing reasonably
              determine to be applicable; (ii) such transferee must be a citizen of the United
              States (as defined in 49 U.S.C. Section 40102(15), as amended) or otherwise
              eligible to register aircraft with the FAA pursuant to Part 47 of the Federal
              Aviation Regulations; and (iii) such transferee must execute all other documents
              relating to the assets and property of the Company necessary to reflect such
              transferee's Membership Interest, the management of the assets and property of
              the Company and the transferee's participation in this Agreement in order for a
              Transfer to be treated as a Permitlcd Transfer under Article 5. No such trnnsfor
              will operate to relieve a Member of any liabilities accrued prior to such transfer.

       5.4    Prohibited Transfers.
              a.       Any purported Transfer of a Membership Interest that is not a Permitted
              Transfor will be null and void and of no force or effect whatever; provided that, if
              the Company is required to recognize a Transfer that is not a Permitted Transfer,
              the Membership [nteres( Transferred will be strictly limited to the transferor's
              rights to allocations and distributions as provided by this Agreement with respect
              to the transferred Membership Interest, which alloca1ions and distributions may
              be applied (without limiting any other legal or equitable rights of the Company) to
              satisfy any debts, obligations, or liabilities for damages that the trnnsforor or
              tnmsfe1·ee of such Membership Interest may have to the Company.
              b.      ln the case ofa Transfer or attempted Trnnsfor oflnterests that is not a
              Permitted Transfer, the parties engaging or attempting lo engage in such Transfer
              hereby agrees lo indemnify and hold harmless the Company and the other
              Members from all cost, liability, and danmgc that any of such indemnified persons
              may incm (including, without limitation, inereme11tal tax liability and legal fees
              and expenses) as a resuli ofsneh Transfer or attempted Transfer and efforts to
              enforce the indemnity granted hereby. This indemnification shall survive the
              expiration or termination of this Agreement.

       .5.S   .Bight of First Refusal

              a.      If; a Member ("Selling Member") enters into an agreement with any
              person or entity pursuant to which any portion of such Member's Interest is to be
              assigned, purchased or otherwise Transforred ("Offered lnten,st"), and such
              proposed Transfor would result in the Selling Member Transferring lo any one or
              more parties any portion of the Offered Interest, the Selling Member shall send to
              each of the other Members written notification ("Notice of Trnnsfcr") of the
              Selling Member's intention to so Transfer such Offered lntcrest. Such Notice of
              Transfer shall include, but not be limited to, identification of (he purchaser
              ("Purchasing Party"), a copy of' such agreement reilccting Ibis right of first
              refusal, a statement of any and all consideration being paid in connection with
              such Offered Interest, the designated time, date and place of closing ("Transfer
              Closing"), a statement that the Selling Member's reasonable opinion the

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            Purchasing Party complies with Article 5,3(!) herein and all other material terms
            of the proposed trnnsfor, Such Notice ofTrnnsfor shall be given to each of the
            Members al least sixty (60) business days prior lo the Trm1sfer Closing. After
            receipt of the Notice of Transfer, the other Members shall have the right,
            exercisable by written notice within thirty (30) business days ufter receipt of the
            Notice of Transfer and after receipt of all consents required by any loans, leases
            or other financing arrangements of the Company and the Selling Member, to
            purchase the Offered Interest to be Trnnsforred on the same terms and conditions
            set forth in Notice of Transfer or on such other conditions as may be agreed,upon
            by the Seller Member and the other Members; provided, however (i) if more than
            one Membor timely exercises such right of first refusal, the Members that have so
            exercised such right shall be entitled to purchase the Offered Interest as of the
            date of the proposed Transfer in proportion lo their current Membership Interest at
            the time of the Notice of Trnnsfer unless otherwise agreed, and (ii) if there is any
            non .. eash consideration to be given by the Purchasing Party in connection with the
            Offered Interest, the Member or Members that timely exercise such right of first
            refusal shall pay the Selling Member, in lieu of such non.. cash consideration, an
            amount equal lo the fair market value of such non-cash consideration.

            b.       Ifno Member(s) elect to purchase the Offered Interest pursuant to Article
            5.5 herein, a 1111\jority of the remaining Members may either accept or reasonably
            reject the proposed Transfer of the Offered Jnterest to the Purchasing Party, Such
            acceptance or rejection shall be given to the Selling Member and all other
            Members in writing with any such rejcc!ion stating the reason(s) for such
            rejection. In !he event a majority of !he remaining Members do not reject in
            wiring to Purchasing Party's purchase of the Offered Interest within forty-five
            (45) days from receipt of the Notice of Transfer, then the Purchasing Pmty will be
            deemed acceptable to the remaining Members, In the event a majority of the
            remaining Members reject the Purchasing Par!y, Selling Member shall then
            provide wri!tcn notice ("Election Notice") to the remaining Members that: (i)
            Seller Member will withdraw the Offered Interest from Transfer; or (ii) the assets
            of !he Company are lo be sold and the Company dissolved pursuant to this
            Agreement.

            c.       Any and all costs and expenses related to the Transfer of an Offered
            [n!cres! hereunder including but not limited to appraisal fees, inspections, license,
            filing, rcgis!ration, or o!her fees and delivery of any assets of the Company shall
            be ,it the sole cost and cxpc1rne of the Selling Member except if the assets of the
            Company are to be sold and the Company dissolved.

            d.      If the assets of !he Company are to be sold and the Company dissolved
            pursuant to (his Agreement, and, if all Members in Good Standing arc unable to
            agree within forty-five (45) days of the dale of the Election Notice on a purchase
            price and terms for sak of'thc assets of the Company, then aHcr !he 45 th day any
            and all aircraft and all other property, real, personal, tangible or intangible or
            otherwise owned by the Company shall be placed for sale in the open market in


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                 the usual and customary manner for the value as determined in Article 5.6 below
                 and upon their salt\ the Company subsequently dissolved. If a buyer for any and
                 all aircrnft owned by the Company has nol executed a letter of intent, purchase
                 agreement, or other binding agreement for the sale and pure.base of all aircraf\
                 owned by the Company for the Offered Interest Value within sixty (60) days of
                 placing the aircraft and other property for sale in the open market, the value shall
                 be reduced by 5% every sixty (60) days thereafter until a buyer has executed a
                 letter of intent, purchase agrcemmt, or other binding agreement for the sale and
                 purchase of all aircraft owned by the Company for such revised value or until all
                 1he Members in Good Standing reach agreement on the sales price.

                 e.     Any such Transfers pursuant to Article 5.5 herein shall be a Permitted
                 Trnnsfor.

         5.6     Di~tributions and Applications in Rcsped to Tmnsfcrred Interest.~. Jfany
 Membership Interest is Transferred during any fiscal year in compliance with the provisions of
 Article 5, profits, losses, and all other items attributable to the Transfoncd Membership lnterest
 for such fiscal year will be divided and allocated between the transferor and the transferee by
 taking into account their varying Membership Interests during such fiscal year in accmdance
 with the lntcrnal Revenue Code, using any conventions permitted by law and selected by the
 Company. All distributions made on or before the date of such Transfer will be made to the
 transferor, and all distributions after the d<ite of Transfor will be made to the transferee. Solely
 for purposes of making such allocations and distributions, the Company will recognize a
 Transfer at the end of the calendar month during which the Transfer occurred. Neither the
 Company nor the Member will incur any liability for making allocations and distributions in
 aecordancc with the provisions of this Article 5.7, regardless ofactual knowledge of any
 Transfer of ownership of any Membership lnterest.

          5.7     Additional Conditions to Recognition ofTrnnsfcrcc. !fa Selling Member
 sells a Membership Interest to a person or entity who is not already a Member, as a condition lo
 recognizing the effectiveness and binding nature of such sale, the remaining Members may
 require the Selling Member and the proposed successor-in-interest to execute, acknowledge and
 deliver to the Company s1tch instruments oftrnnsfor, assignment and assumption and such other
 certificates, representations and documents, and lo perform all such other acts which the
 Company may deem reasonably necessary or desirable to accomplish any one or more of the
 following: (i) confirm that the proposed successor-in-interest has accepted, assumed and agreed
 lo be subject and bound by all oftbc terms, obligations and conditions of this Agreement, as the
 same may have been further amended; (ii) preserve the Company after lhe complctioo of such
 sale, under the laws of each jurisdiction in which the Company is qualified, organized or does
 business; (iii) nrnintain the current status of the Company for federal tax purposes; and
 (iv) assure compliance with any applicable state and fodernl laws, including secmities laws and
 regulations. Any Transfer of a Membership Interest and aclrnis:ion of a Member performed in
 compliance herewith shall be deemed effoctive as of lhe last day of the calendar month in which
 the remaining Members' consent thereto was given. The Selling Member hereby indemnifies the
 Company and the remaining Members against any and all loss, damage, or expense (including,
 without limitation, tax liabilities or loss of tax benefits) arising directly or indirectly as a resull of


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  any Transfer or purported Transfer in violation of this Agreement or any loans, leases or other
  financing arrangements of the Company.

         5.8     Additional Members. After the formation of the Company, any person upon the
 unanimous written consent of the Members in Good Standing may become a Member of the
 Company for such consideration as the Members in Goocl Standing shall determine, provided
 that such additional Member complies with all the requirements of a transferee under this
 Agreement. No such Member shall be entitled to nny retroactive allocation of losses, income or
 expense deductions incurred by the Company.


                                    ARTICLE 6
                       DEATH OR INCAPACITATION Oli' A MEMBli'.R

          6.1     Death oi· Incapacitation of' a Membei:, The bankruptcy, death, incapacitation
 dissolution, liquidation, termination or adjudication ofincompclcncy ofa Member shall not cause
 the termination or dissolution of the Company and the business of the Company shall continue.
 Upon any such occurrence, the trnstee, receiver, executor, administrator, committee, guardian or
 conservator of such Member shall have all the rights of such Member for lhc purpose of settling or
 managing its estate or property, subject to satisfying conditions precedent to the admission of such
 assignee as a substitute Member. The transfer by such trustee, receiver, executor, administrator,
 commil!cc, guardian or conservator of any Membership Interest shall be sul1ject to all of the
 restrictions, hereunder to which such lrnnsfor would have been subject if such transfer had been
 made by such bankrupt, deceased, dissolved, liquidated, terminated or incompetent Member. The
 foref,oing shall apply to the extent permit!ed by applicable law.

          Upon the bankruptcy, death, incapacitation dissolution, liquidation, termination or
 adjudication of incompetency ofa Member, the trustee, receiver, executor, administrator,
 committee, guardian or conservator of such Member shall offer to the other remaining Members
 Membership Interest for purchase pursuant to the procedmcs of Article 5.5(a) herein. The Members
 agree that in such an event, the consideration for such Membership Interest shall be cash only and
 the value of(he M(:mbcrship lntcrcst shall be determined by mutual agreement of'the Members in
 Good Standing and the trnstec, receiver, executor, administrator, comrnillee, guardian or conserva-
 tor of the Member and ifno agreement is reached within thirty (30) days, a majority of three (3)
 independent appraisers, one (I) selected by the Members in Good S1anding, one (1) sc.lccted by
 the trustee, receiver, executor, administrator, committee, guardian or conservator of such Member
 and the 1hird selected by the other lwo (2) appraisers. Snch determination shall be final for
 purposes of this Agreement. All costs of the appraisers and the appraisal process shall be
 ded11cled from the price paid for the Membership Interest hefon, st1ch price is paid to the trustee,
 receiver, executor, administrator, eomrnit!ec, guardian or conservator of such Member.

 For purposes of this Article, a Mc111ber (if an individual) shall be considered incapacitated if the
 Member's attending physician and one olhcr licensed medical physicinn certifies in writing on a
 dale later than the date of this Agreement, !hat the Member is physically or mentally incapable of
 managing the Member's everyday business affairs. The Me111bcr's, whose signatt1res appear below,



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  authorizes the exmnining physicians for this purp\1se to disclose the physical and mental condition
  to the officcrn and Members for purposes of this Article.

                                         ARTICLE7
                                MISCRI,LANEOUS PROVISIONS

         7.1     Maintenance of Books and Records.         The Members shall cause complete
  and accurate books and records of the Company to be maintained in accordance with the Act.

          7.2    Sevcrnbility. In the event any provision or any sentence within any Section is
  declared by a court of competent jurisdiction to be void or unenforceable such provision or
  sentence shall be deemed severed from the remainder of this Agreement and the balance of this
  Agreement shall remain in full f'<,rcc and effoct.

          7.3     Article and Section Hcndh!,g&          The captions of the Articles and Sections in
  this Agreement are for convenience only and in no way define, limit, extend or describe the
  scope or intent of any of the provisions hereof; shall not be deemed part of this Agreement and
  shall not be used in construing or interpreting this Agreement.

          7.4    Governing Law.        This Agreement shall be constrned according to the laws of
  the State of Delaware, without reference to its principles of conflict of laws.

          7.5    Pronouns and Plurnls.         Whenever the context may require, any pronoun
  used in this Agreement shall include the concsponding masculine, feminine and neuter forms,
  and the singular form of nouns, pronouns and verbs shall include the plural and vice versa.

         7.6     No Third Party Beneficiaries.           There are no third party beneficiaries of this
 Agreement.

         7.7      Notices. Any notice, demand, or communication required or pcrmilled lo be
 given by rmy provision of this Agreement shall be deemed to have been sufficiently given or
 served if sent by tclccopy or facsimile transmission, delivered by messenger or overnight courier,
 or mailed, certified first class nrnil, postage prepaid, return receipt requested, and addressed or
 sent to the Mcmb(,r's address, as sci fcn'lh on Schedule A, from time lo time. Such notice shall
 be effective: (a) if delivered by messenger or by overnight courier, upon actual receipt; (b) if sent
 by telccopy or facsimile transmission, upon confirmation of receipt; or (c) if mailed, upon the
 earlier of three (3) business days after deposit in the mail and the delivery as shown by return
 receipt therefor. Any Member may change its address by giving notice in writing to the
 Company and the other Members of its new address.

         7.8   Anrnndmcnts. This Agreement may be amended only with the written agreement
 of' the Members in Good Standing.

        7.9     l•:xecution of Additional Instruments. Each Member hereby agrees lo execute
 such other and forlher statements of interest and holdings., designations and other instruments
 necessary lo comply with any laws, rnles or regulations.


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          7, l O :Waivers. The failure of any party to seek redress for violation of or lo itrn!st upon
 the strict performance of any covenant or condition of this Agrnement shall not prevent a
 subsequent act, which would have originally constituted a violation, from having the effect of an
 original violation.

         7.1 I Rights and Remedies Cumulative. The rights and remedies provided by this
 Agreement nrc cumulative and the use of ,my one right or remedy by any party shall not preclude
 or waive the right to use any or all other remedies, Said rights and remedies are given in addition
 to any other rights the parties tmiy have by law, statute, ordinance or otherwise.

          7.12 Altomeys' Fees, Should the Company or any party to this Agreement reasonably
 retain counsel for the purpose of enforcing or preventing breach of any provision of this
 Agreement, including but Ml limited to instituting any action or proceeding to enforce any
 provision of this Agreement, for damages by reason of any alleged breach of m1y provision of
 this Agreement, for a declaration of such party's dghts or obligations under this Agreement or
 for any other judicial remedy, then, if the matter settled by judicial detcnnination en· m-bitrntion,
 the prevailing party (whether at trial, on appeal, or mbilrnlion) shall be enti!led, in addition to
 such other relief as may be granted, to be reimbursed by the losing party for all costs and
 expenses incurred, including, but Mt limited lo, reasonabk, attorneys' foes and costs for services
 l'(;ndernd to th,1 prevailing party.

         7.13      Heirs, Successors and Assigns. Each and all of the covenants, terms, provisions
 and agreements herein contained shall be binding upon and inure to the benefit of the parties
 hereto and, to the extent permitted by this Agreement, their respective heirs, legal
 rcpresentativt.~s, successors and assigns,

         7.14 Counterparts. This Agreenwnl may be execmcd iu counterparts, e<1ch of which
 shall be deemed an original but all of which shall constitute one and the ~ame instrument.

         7.15  No Investment ReJH'cse1llatio11s. THJ,; INTf:IUi:,STS DESCRlBll:D ANl>
  REPIU~SENTED BY THIS LlMITIU) LIABILITY COMPANY AGREEMl~NT HAVE
  NOT BEEN REGlSTERltD UNDER Till~ SEClJRITJES ACT OF 1933 (THE
  "SlCCUIHTms ACT" OR ANY APPLlCABLR STA'J'li'. SEClJR!TmS LA ws ("STATE
  ACTS") AND ARE RESTRICTJO) SECUlUTlRS AS THAT Tt:RM !S HEFINRD IN
  RULE 144 UNDER THE SI~CURITJll:S ACr. Tlm SJ,:ClJIUTJES MAY NOT 1m
  Ol<l1IUU£D FOR SALE, SOLD, OR OTlmRWlSE TRANSJi'ERRltD 1'XCln'T
  PURSUANT TO AN EJ1F!;;CTIVE RRGISTRATION STATRMl~NT OR
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  OR PlJRSUANT TO AN U:Xt<:MPTION JiROM RltGISTRATION UNIH;;R TIU,
  su:crn.UTIES ACT ANl) APl'LlCAHLI•'. STATE ACTS, TH!t AVAILABILITY OF
  WHICH IS TO BE RSTAHLJSHRD TO THI•: 8ATlSFACTlON OF THE COMPANY.

                                      (Signntm·c- Pago tCl l•ollnw)




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          IN WITNESS WHEREOF, the initial Member has executed this Agreement to be
  effective as of the date first written above.


  MEMBJi:I~-·---· . .        \            MEMBlcR:                      ,.
  n/f:~.~~:~~(-~c:::~::,, /
       Steven Bradley Mell
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                                          By: ..........
                                                     Kimberly Ruggl,Mell




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  Schedufo A
  Members

  Name                       Address Phone, Fax         Percentage Interest

  I. Steven Bradley Mell     450 Springfield Ave.       99.00%
                             Summit NJ 07901
                             Phone: 908-277-3441


  2. Kimberly Ruggles Mell   450 Springfield Ave.        1.00%
                             Summit NJ 07901
                             Phone: 908-277 .. 3441




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 SchedulcB
 Initial Cariital Contrilrntion~

 Name                                          lnitinl Capital Contribution

 1. Steven Bradley Mell                         '•·'),,
                                               $.c¥ .:)[){)   .00

 2. Kimberly Ruggles Mell                      $)1.1      l;Y,:bo




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                                         Creative Solutions
                                             Investigative Services



CASE NAME:                U.S. Vs. Steven B. Mell

INVESTIGATOR:              Daniel Coleman

REPORT OF:                 Interview and of Alan Fournier

DATE:                      May 22, 2018

May 21, 2018, Monday
2:10 PM
          -As requested by the Bianchi Law Group, the undersigned investigator conducted an
          interview of Alan Fournier, 11 Hollowbrook Road, Far Hills, NJ (908)313-0119. The
          interview was conducted at 450 Springfield Avenue, Summit, NJ. Mr. Fournier is an
          acquaintance and colleague of Steven Bradley Mell. Mr. Fournier was listed a
          character reference on an application that Mr. Mell made to the Bedminster Police
          Department for an “Application for Firearms Purchaser Identification Card and/or
          Handgun Purchase Permit.” Mr. Fournier stated that he had a conversation (via text)
          with Mr. Mell regarding coyotes on his (Mr. Mell’s) property, and his concerns that
          they could harm or kill his dog “Zucc”, and his need to purchase a firearm due to this
          threat.

            Mr. Fournier showed me his cell phone and the text message exchange he had with
            Mr. Mell. (Images of the text message conversation are at the bottom of this report.)
            The conversation began on Sunday, April 29, 2018 at 7:59 PM, when they were
            scheduled to get together, and Mr. Mell reported that he was delayed because he
            (Mr. Mell), “Was chasing Zucc from coyotes.” Their text conversation resumed on
            Monday, May 7, 2018 at 5:35 PM when Mr. Mell asked Mr. Fournier, “Hey I hope it
            is ok I put you down as a reference for my firearms ID card. I have some coyotes I
            need to deal with.” Mr. Fournier inquires, “When are they around?” Mr. Mell
            responds, “A lot these days. Scaring me actually” Their text conversation resumed
            on Tuesday, May 8, 2018 at 5:16 PM. Mr. Mell writes, “Hey try to return the firearms
            referral when you get it if you don’t mind. They say that is usually what holds things
            up. There are 2 coyotes that are hanging around and I think they think Zucc is one of
            them.”

            Mr. Fournier showed me his address book entry for “Brad Mell” (see image below).

            2:25 PM, the interview was concluded



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                                       Creative Solutions
                                           Invest igativ e Se rvices




                                                 Here

                                                            '-ion, May 7,   PM


                                                 Hey I hope it is ok I put you
                                                 down as a reference for my
                                                 firearms ID card. I have
                                                 some coyotes I need to
                                                 deal with. If you want to
                                                 come over and firm off a
                                                 couple rounds that might
                                                 be fun. Hope that is ok .




                                                                      ..
                                                  Hey I hope 1t 1s ok I put you
                                                  down as a reference for my
                                                  firearms ID card. I have
                                                  some coyotes I need to
                                                  deal with. If you want to
                                                  come over and firm off a
                                                  couple rounds that might
                                                  be fun. Hope that is ok.




                                                             Is rt legal to shoot them?
                                                             Wrtha nfle?



                                                 Well. Yes and no. If they
                                                 present a danger.

                                                           When I get back from
                                                           Co enha en we should




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                                         Creative Solutions
                                             Investigative Services




                                                    Enjoy. Is Tivoli open.

                                                    Cool place if it is.




                                                    Hey, try to return the
                                                    firearms referral when you
                                                    get it if you don't mind.
                                                    They say that is usually
                                                    what hold things up. There
                                                    are 2 coyotes that are
                                                    hanging around and I think
                                                    they think Zucc is one of
                                                    them




                                                                       ..
                                                                Brad Mell

                                                    oeo
                                                      .....                       ..,
                                                   mobile
                                                   +1 (908) 578-8977
                                                   phone (Siri found in Mall)



                                                                                 ••




Daniel Coleman
Owner, Creative Solutions Investigative Services




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                                         Creative Solutions
                                             Investigative Services



CASE NAME:                U.S. Vs. Steven B. Mell

INVESTIGATOR:              Daniel Coleman

REPORT OF:                 Interview and of Diane Frederick

DATE:                      May 22, 2018


May 21, 2018, Monday
2:30 PM
          -As requested by the Bianchi Law Group, the undersigned investigator conducted an
          interview of Diane Frederick (908) 347-0445. The interview was conducted at 450
          Springfield Avenue, Summit, NJ. Ms. Frederick is the Operations Manager at WH
          Mell, 450 Springfield Avenue, Summit, NJ. Ms. Frederick reported that she had a
          conversation with Steven Bradley Mell regarding coyotes on his property. Ms.
          Frederick stated that the conversation took place the first week in May, 2018,
          possibly Tuesday, May 1, 2018 or Wednesday May 2, 2018. Ms. Frederick stated
          that the day the conversation took place, Mr. Mell called her into his office to
          discuss an incident that occurred on his property involving coyotes and his dog. She
          explained that they often discussed dogs, as Mr. Mell and Ms. Frederick both have
          two dogs each. She stated that Mr. Mell has a husky breed puppy named “Zuek,”
          who is approximately 9 months to one year old, and another smaller breed dog. Ms.
          Frederick described the incident that Mr. Mell reported to her involving the coyotes
          and his dog. Mr. Mell stated that he was preparing to go to a dinner and was getting
          out of the shower when he looked out the window. Outside, he saw his dog Zuek
          sitting on the edge of the property. He was looking up at two coyotes, on a ridge on
          the outskirts of the property. Mr. Mell immediately got dressed, ran to the barn,
          grabbed a machete and chased the coyotes away. Ms. Frederick stated that there is
          no fence surrounding Mr. Mell’s property and he was concerned about the coyotes
          killing his dogs.

            2:50 PM, the interview was concluded




Daniel Coleman
Owner, Creative Solutions Investigative Services


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CASE NAME:                U.S. Vs. Steven B. Mell

INVESTIGATOR:              Daniel Coleman

REPORT OF:                 Investigation at Bedminster Police Department

DATE:                      May 23, 2018


May 22, 2018, Tuesday
1:20 PM
          -As requested by the Bianchi Law Group, the undersigned investigator responded to
          the Bedminster Police Department, 55 Miller Lane, Bedminster, NJ, to investigate
          the circumstances around Steven Bradley Mell’s submission of an “Application for
          Firearms Purchaser Identification Card and/or Handgun Purchase Permit.” Mr. Mell
          reported that he presented the application to the female clerk at the Bedminster
          Police Department.

            Inside the Bedminster Police Department, there was a female clerk visible through a
            glass partition. I spoke to her and attempted to clarify details surrounding Mr. Mell’s
            submission of his application. The unidentified female stated that she could not
            discuss the matter with me and exited her area to speak to a supervisor. I was
            greeted by the Bedminster Township Chief of Police, Karl Rock. Chief Rock stated he
            was not going to permit the clerk to speak to me, and he preferred to be the point of
            contact for this matter. He proceeded to speak to me about Mr. Mell, his application
            for a replacement Firearms ID card and the coyote problem in Bedminster Township.

            Chief Rock confirmed that Mr. Mell submitted an application for a “Lost or Stolen ID
            Card.” He did not know who took Mr. Mell’s application, but stated it could have
            been anyone at the police department, depending upon when he submitted the
            application. Chief Rock confirmed that it is common practice to advise applicants to
            submit multiple Applications to Purchase a Handgun, even if they are not going to
            use them. He stated, “It’s more convenient. You can get up to six in one ask.
            Ultimately a lot of people just get them and never purchase anything.”

            I spoke to Chief Rock about Mr. Mell’s assertion that he needed to purchase a long
            gun due to seeing coyote on his property. Chief Rock stated, “It’s Bedminster” and
            that it was “coyote season.” He further stated “with the amount of property he has,

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            he probably could make application to fish and game to shoot wildlife on his
            property.”

            Chief Rock did not know Mr. Mell and did not know about the investigation or arrest
            until the day Mr. Mell was arrested.

            1:35 PM, the interview was concluded




Daniel Coleman
Owner, Creative Solutions Investigative Services




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Apd)6 18, 02:11 p                                                                                                            p.1




                                                             AGREEMENT
                                                               between
                                                          S. BRADLEY MELL
                                                                 and
                                                         GULFSTREAM CM, LLC
                                                                 and
                                                         GULFSTREAM GP, LLC

                                     This AGREEMENT, dated as of April 6, 2018, is entered into between S. Bradley
                    Mell <"M!al!:1 and Gulfstream CM, LLC, a Delaware limited liability company C'GCM'), and
                    Gulfstream GP, Ll.C, a Delaware limited liability company ("GGP" and colleetlvely with GCM, th&
                    "Gylfstream Entitles").

                                    WHEREAS, the parties wish to set forth their understanding regarding matters In
                    connection with Mell's limited liability company Interests in the Gulfstream En!tties;

                                  WHEREAS, this Agreement will serve to effectively amend me Opetatlng
                    Agreement of GCM, dated as of April 1, 2011 {!he "(iCM Agreement') and the Operating
                    Agreement of GGP, dated as of Aplil 1, 2011 (the "GGP Agrearoerrt" and collectively with the
                    GCM Agreement, the •operating Agreements"):

                                    NOW, THEREFORE. in conslderetlo11 of the mutual promises and covenanls
                    herein. and For other goocl and valuable consideration, toe receipl and sufficiency of which are
                    hereby acknowledged, the parties agree as follows:

                                                                 ARTICLE I

                                                               WlTl• DRAWAL
                                     Section 1.01    Withdrawal. The parties agree that. effective March 31, 2018
                    (the "Departure Date"), Mell shalt be withdrawn as a Member in GCM and GGP, and thereal\er,
                    except as expressly set forth in this Agreement, shall have no membership, employment. voling,
                    economic or other rights or interests in the Gulfstream Entities. The Gulfstream Entities hereby
                    waive the sixty (60) day Notice Period set forth in Section 11(a) of the Operating Agreements and
                    accept Mell's withdrawal as of the Departure Date.

                                                                 ARTICLE II

                                                         SHARE OF NET PROFITS

                                     Section 2.01.    Net Profits for JDil\.

                                              (a) @CM. For calendar year 2018, Mell shall receive cash payments
                    within (60) days after the end of such calendar year equal to (i) for the period beginning January
                    1, 2018 and ending March 31, 2018 (A) forty percent (40%) of the net profits of GCM attributable
                    to any private fund client (excluding Fund Nel Proflls): (B) thirty"three and one-,lhirds percent (33
                    113%) of !ha net profits of GCM attributable to any cllant other than a private fund client; (C) forty
                    percent (40%) of the net profits of GCM not allocated pursuant to (a)(i)(A) and (a)(i)(B) {includi11g
                    Net Sales Proceeds, tut excluding Fund Net Profits), and (II) for ti1e period beginning April 1,
                    2018 and ending December 31, 2018 (A) lwenty"four and nirn,Henlhs percent {24.9%) of the net
                    profits of GCM attributable to any private fund client {e>cluding Fund Net Profits); (B) twenty and
                    throo.fourths percent (20 314%) of the net profits of GCM attributable to any client other than a
                    private fund client; (C) twenty"four and nine-tenths percent (24.9%) of the net profits of GCM not
                    allocated pursuant to (a)(ii)(A) and (a)(ii)(B) (lnclugjJ]g Net Sales Proceeds, but excluding Fund
                    Net Profits).
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                                             (b) GGP, For calendar year 2018, Mell shall receive cash payments
                  within {60) days after the end of such calendar year equal to (i) forty percent (40%) of the net
                  profits (including Net Sales Proceeds and any incentlve allocations made to GGP with respect to
                  a private fund client. but excluding Fund Net Profrts) of GGP attributable to the period beginning
                  Januaiy 1, 2018 and ending March 31, 2018, and (ii) twenty-four am:! nine-tenths percent (24.9%)
                  of the net profits (iocludlog Net Sales Proceeds and any Incentive allocations made to GGP with
                  respect to a private fund client, but excluding Fund Net Profits) attributable lo the period
                  beginning April 1, 2018 and ending December 31, 2018.

                                   Section 2.02,    Net Profits for 20111 - 2022.

                                             (a) GCM, For each of the calendar years 2019, 2020, 2021 and 2022,
                  Mell shall receive cash paymenw within (60) days after the end of each such calendar year equal
                  lo (i) twenty-four and nine-tenths peroent (24.9%) of the net profits of GCM attributable to any
                  private fund c"ent (excluding Fund Net Profits): (ii) twenty and three-fourth• percent (20 314%) of
                  the ne\ profits of GCM attributable to any client other than a private fund client; and (iii) twenty-
                  four and nine-tenths percent (24.9%) of the net profits of GCM not allocated pursuant to (a)(i} and
                  (a)(li) (including Net Sales Proceeds, but excluding Fund Net Profits).

                                           (b) GGP. For each of the calendar years 2019, 2020, 2021 and 2022,
                  Mell Shall receive cash payments w~hin (60) days after the end of each such calendar year equal
                  to twenty-four end nine-tenths percent (24.9%) of the net profits (Including Net Sales Proceeds
                   and any incentive ellooatlons made to GGP with respect to a private fund client, but excluding
                  Fund Net Profits) of GGP.

                                    Section 2.03     Calculation of Net Profits. In calculating tile net profrts of GCM
                  attributable lo private fund clients and any client other than private fund clients. each Item of cost
                  and expense will be allocated in accordance with the revenue associated with such cost or
                  expense and, to the extent such item Is generally associated with GCM, allocated proportionately
                  among private fund clients and clients other than private fund clients based on aggregate
                  revenues attributable to each.

                                  Section 2.04,     sunset  Paymenlll. Mell shall not be entitled to any paymenls
                  pursuant to Secilon 12 of 11\e respec!lve Operating Agreements of GCM and GGP,

                                   Section 2,05,    Tax Treatment. The parties agree that any payment pursuan\ to
                  this Article H shall be treated as a payment to a retiring partner under Section 736(a} of the
                  Internal Revenue Code of 1986, as amended,

                                                               ARTICLE Ill

                                                   PAYMENT OF CAPITAL ACCOUNT

                                     Section 3.01    Capital Acqouot. Within ten (10) business days after the
                  Departure Date, each Gulfstream Entity shall dlstrtbute lo Mell, In cash, !he estimated amount of
                  Melf's Capital Account balance In such Gulfstream Entity as of the Departure Date (tile
                  "Estimated Amount"), Promptly after the auditors have completed their examination of the books
                  of the Gulfstream Entitles for the calendar year 2018, each Gulfstrea1t1 Entity shall pay to Mell, in
                  cash, the amotll'I\ of the excess. if any, of the "Adjusted Capital Balance" (Ei5 defined below) ov"r
                  the Estimated Amount •o paid, or Mell shall return and pay to the Gulfstream Entky, In cash, the
                   amount of the excess. if any, of the Es!lmated Amount so paid over such Adjusted Capita\
                   Balance, The term 'Adjusted Cnpital Balance" In respect of a Gulfstream Entity means Mell's
                  Capital Account In such Gulfst1eam Entity as of the Departure Date, increased by Mell's share of
                  ttle net profits of such Gulfstream Entity for the calendar year 2018 (computed in aooordance wffh
                  Section 2.01 above).



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                                                               ARTICLElV

                                                      RESTRICTIVE COVENANTS

                                       Section 4.01   Non-Sglicitation. Subject to Section 4.03, Mell agrees that, until
                   January 1, 2023, Mell will not directly or lndirecUy, either as principal, agent, independent
                   contractor, consultant, director. officer. employee, employer, advisor (whether paid or unµaid),
                   stockholder, partner, member or in any other Individual or representative capacity whatsoever,
                   either for his own benefll or the benefit of any other person or entity, knowingly solicit, divert or
                   take away or accept as a client or investor any person (other than a family member of Mell) who
                   or which is a client of a Gulfstream Entay (or an affiliate of a Gulfstream Entity) or any investor in
                   any pooled investment vehicle managed by a Gulfstream Entity (or an affiliate of a Gulfstream
                   Entity) as of the Departure Date, or who is then being solicited as such a client or investor or was
                   such a client or investor at any tirne during the one-year period ending on the Departure Date.
                   Subject to Section 4.03, Meil further agrees that, until January 1, 2023, Mell will not, directly or
                   Indirectly, knowingly solicit or do business with any employee or member of a Gulfstream Entity
                   (or an affillate of a Gulfstream Entfty) or former employee or member who was employed or
                   2>'.tiliated with a Gulfstream Entity (or an affillate of a Gulfstream Entity) at any time during the
                   one-year period ending on the Departure Dale (other than a famlly member of Mell), Mell agrees
                   that he will not make any adverse or disparaging comment regarding a Gulfstream Entity or its
                   Managing Members. A violation of this Section 4.01 by Mall shall result in Mell folfelting any
                   payments due to Mell under Article II o! this Agreement: provided that the Gultstream Enlfties
                   shall provide Mell with prompt written notice upon becoming aware of any violation of this Section
                   4.01 ill rea$0nable detail. The application of the preceding sentence shall not limit a Gulfstream
                   Entity from pursuing any other rights or remedies which It may have in law or equity. The parties

                   W, H. Mell Associates, Inc.  a.
                   agree that this Section 4.01 shall not apply to any person or entity that is a client er employee of
                                                    of the Departure Date, For the avoidance cf doubt, with respecl to
                   KRM Investments, LLC ("KRM"), this section 4,01 does not apply to Mell or any client or
                   employee that is a family member of Mell.

                                    Section 4.02     Non,Cornpetltlon. Subject to Section 4.03, Meil agrees that, until
                   January 1, 2023, Mell wm not, without the prior written consent of the Gulfstream Entitles, directly
                   or indirectly, whethar as principal, Investor, officer, director, manager, partner, consultant. agent
                   or otherwise, alone or in association with any other person, firm corporation or other business
                   organization, enter into a business in direct competl!ion with a Gulfstream Entity, In the case
                   where Mell Is employed by an entity which is engaged in a business In direct competilion (a
                   "Competing Bttsiness") with a Gulfstream Entity or its affiliates, Mell shall be treated as violating
                   this Section 4.02 only if Mell performs services for such Competing Business. The Gulfstream
                   Entitles may waive In writing the provisions of this Section 4.02 in their sole discretion, A violation
                   of this Section 4.02 by Mell shall result in Mell fortetting any payments due to Mell under Article II
                   of this Agreement: provided that the Gulfo!ream Entities shall provide Mall with prompt written
                   notice upon becoming aware of any violation of this Seciion 4.02 in reasonable dataiL              The
                   application of the preceding sentence shall not limit a Gulfstream Entity from pursuing any other
                   rights or remedies which it may have in law or equity, The parties agree that the bu$iness
                   activities conducted by Me» in connection with W. H, Mell Associates, Inc. as of the Departure
                   Date shall not be deemed a violation of this Section 4.02. For the avoidance oi doubt, this
                   Section 4.02 ls not intended to apply to KRM and its investrnenl activities solely on behalf of Mell
                   (or a family member of Mell), provided that such activities (including without limitation KRM's
                   investing solely on behalf of Mell (or a family member of Mell) directly in municipal securities of
                   the same kind held by the private fund clients of the Gulfstream Entities) are consistent with
                   KRM's investment activilies as of the Departure Date,

                                   Section 4,03     Termination of Restrictive Qovenants. Upon at least sixty (60)
                   business days' prior written notice from Mell to the Gulfstream Entities, Metl may elect lo
                   terminate the restrictive covenants applicable to him pursuant lo Section 4.01 and Section 4.02 of
                   this Agreement as of January 1, 2021 (the ·cessation Date"). In the event Mell makes such


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                   election, Mell shall forfeit any and all payments due after the Cessation Date to Mell under Article
                   II of this Agreement.

                                                                 ARTICLE V

                                                             MISCELLANEOUS

                                      Section 5.01 Governing Law. This Agreement shall be governed by and
                   construed in accordance with the laws of the State of Delaware, without regard to principles of
                   conflicts of laws.

                                   Section 5.02     Assignment. This Agreement shall be binding on and shall inure
                   to the benefit of Mell'$ heirs, executors, administrators, representatives and assigns and the
                   successors in interest and assigns of the Gulfstream Entities. Mell may not assign any of his
                   rights hereunder, except with the written consent of the Gulfstream Entities.

                                      Section 5.03      Release.      Mell, individually and for his agents, insurers,
                    employees, attorneys, estates, assigns, heirs, executors, administrators and personal
                    representatives does hereby, with the sole exception of consideration due under the terms of this
                   Agreement and enforcement of the terms of this Agreement, unconditionally and irrevocably
                    release and forever discharge the Gulfstream Entities, jointly and severally, and as direct third-
                    party beneficiaries hereof, each of their partners, members, predecessors, parents, divisions,
                   subsidiaries, affiliates, officers, directors, executives, agents, insurers, employees, attorneys,
                   estates, purchasers, successors and assigns, of and from any and all claims of any kind,
                   including, but not limited to actions, causes of action, rights, costs, expenses (including but not
                   limited to attorneys' fees), compensation, debts, bonds, bills, suits, contracts, obligations,
                   controversies, covenants, agreements, promises, judgments, executions, damages, remedies,
                   responsibilities, liens, orders, liabilities and accounts of whatsoever kind, nature, or description,
                   direct or indirect, in law, or in equity, including but not limited to claims for accountings, in contract
                   or in tort or otheiwise, which Mell, ever had, now has or hereafter can, shall or may have, or may
                   hereafter assert, or which may hereafter arise against the Gulfstream Entities, jointly or severally,
                   for or by reason of any matter or cause whatsoever, whether known or unknown, suspected or
                   unsuspected, foreseen or unforeseen at the present time, or which may be based upon
                   preexisting acts, claims or events occurring at any time or times up to the date hereof which may
                   result In future claims of any kind.

                                    Section 5.04      Indemnification,     MeU shall,     to the    fullest   extent legally
                permissible under applicable law, indemnify and hold harmless the Gulfstrearn Entities against
               any and all loss, liability and expense (including, without limitation. judgments, fines, amounts
               paid or to be paid in settlement and reasonable atiorneys' fees and expenses) ("Losses") incurred
               or suffered by the Gulfstream Enttties arising out of any action or inaction of Mell involving
               personal conduct that the Gulfstream Entities reasonably deem to be outside the scope of his
               ernployment with the Gulfstream Entities). Notwithstanding the foregoing, the aggregate amount
               of all Losses for which Mell shall be liable pursuant lo this Section 5,04 (i) shall not exceed the
               aggregate amounts paid by the Gulfstream Entities to Mell under Articles II and 111; (ii) shall be
               reduced by any insurance proceeds and any Indemnity, contribution or similar payments received
               by the Gulfstream Entities in respect of such Losses; and (iii) shall not include Losses arising
               from Incidental, consequential, indirect or special damages. Within thirty (30) days upon request,
               and to the extent legally permissible, Mell shall advance amounts and/or pay expenses as
               incurred by the Gulfstream Entities in connection with his indemnification obligation herein:
               provided, however, that if it is later finally determined that the Guffstream Entitles were not
               entitled to indemnification, then the Gulfstream Entities shall promptly reimburse Mell for all
               advanced amounts.            In the event this indemnification obligation shall be deemed to be
               unenforceable, whether in whole or in part, such unenforceable portion shall be stricken or
               modified so as to give effect to this paragraph to the fullest extent penrnltted by law.



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                                 Section 5,05     l~epresentations and Warranties.      Each of the parties hereto
                 hereby severany (and not jointly) represents and warrants that (a) such party has all right, power
                 and authority to enter into this Agreement and perform the actions cootempla!ed hereby, (b) this
                 Agreement is enforceable with respect to such party in accordance with its terms, and (c) entering
                 lnto thls Agreement will not cause (i) a breach by such party of its obligations under any other
                 agreement by which such party is bound, or (ii) a violation of any law, rule, regulation or court
                 order to which such party Is subject Each of the parties hereto hereby severally (and not jointly)
                 agrees to Indemnify and hold harmless the other parties hereto against any toss, liability, cost or
                 expense (including reasonable attorneys' fees and expenseo) which may result, directly or
                 indirectly, from any breach of the foregoing representations and warranties.

                                  Section 5.06     entire Agreement        This Agreement contains the entire
                 ag,eement between Mell and the Gulfstream Entities and supersedes and cancels any prior
                 agreement or understanding between the parties on the subjects covered herein and no
                 agreements, representations or statements of any party not contained in this Agreement shall
                 bind that party, Ttlis Agreement can be modified, amended or waived only in writing signed by all
                 parties. The failure at any time to enforce any of the provisions of lhis Agreement shall in no way
                 be construed as a waiver of such provislons and shall not affect the right of any party thereafter to
                 enforce each and every provision hereof in accordance with its terms,

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                                                                                                    p.6




               !N WITNESS \IVHEREOF, !he pz:irlies have executed this Agrnew1cnl 0s of the date first
       above written.




                                                                S. Bradley Me!\




                                                      GUl FSTIU'M GP :tC

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